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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF RHODE ISLAND




          * * * * * * * * * * * * * *           C.R. NO. 13-135M
          UNITED STATES OF AMERICA *
                                    *
          VS.                       *           JANUARY 23, 2015
                                    *           10:00 A.M.
          JOHN J. FALL              *
          * * * * * * * * * * * * * *           PROVIDENCE, RI



                   BEFORE THE HONORABLE JOHN J. McCONNELL, JR.,
                                 DISTRICT JUDGE
                            (Jury Trial -- Volume VII)
                                    REDACTED



          APPEARANCES:

          FOR THE GOVERNMENT:              JOHN N. KANE, ESQ.
                                           JEFFREY BRIAN Bender, ESQ.
                                           U.S. Department of Justice
                                           Tax Division
                                           601 D Street, N.W., 7th Floor
                                           Washington, D.C. 20530

          FOR THE DEFENDANT:               JOHN J. FALL, PRO SE
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                                           Cranston, RI 02920

                                           KEVIN J. FITZGERALD, ESQ.
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          Court Reporter:                  Anne M. Clayton, RPR
                                           One Exchange Terrace
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  1       23 JANUARY 2015-- 10:00 A.M.

  2                       (The jury is not present for the

  3       following:)

  4                THE COURT:      Good morning, everyone.

  5                Let me just begin by handing Ms. McGuire what

  6       will be marked as Court's Exhibit 14, which is a note

  7       the CSOs received from Mr. Fall this morning upon

  8       entering the courthouse.

  9                He also, I understand, filed something this

 10       morning that will be placed on ECF directly dealing

 11       with yesterday's proceedings.

 12                My intention this morning is to bring Mr. Fall

 13       in without the jury to see if he is willing to abide by

 14       the Court order and answer the Government's questions

 15       on cross-examination and then see where we go from

 16       there.

 17                Any objection to that procedure from the

 18       Government?

 19                MR. BENDER:      No, your Honor.

 20                THE COURT:      Mr. Fitzgerald, any objection to

 21       that procedure?

 22                MR. FITZGERALD:       No, your Honor.

 23                THE COURT:      Any other thoughts about how we

 24       should proceed?

 25                MR. FITZGERALD:       I don't have any other
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  1       thoughts.     I'm sorry, your Honor.

  2                THE COURT:      Great.      Would it make most sense,

  3       Mr. Fitzgerald, for you to go and get Mr. Fall and

  4       bring him in and have him come to the stand, or do you

  5       want me to ask the marshals to do that?

  6                MR. FITZGERALD:         I think it might be easier to

  7       call on the radio down the hall.            I did talk to

  8       Mr. Fall and I told him that before the jury was

  9       brought in that you were going to ask him similar

 10       questions from yesterday afternoon again.               So he's

 11       expecting to be called in.

 12                THE COURT:      Okay.     Officer Palumbo, would you

 13       instruct the marshals to have Mr. Fall come and take

 14       the stand.

 15                (Pause.)

 16       JOHN J. FALL, Resumes Stand.

 17                THE COURT:      Good morning, Mr. Fall.         Do you want

 18       to remain standing?        Is that still the best --

 19                THE DEFENDANT:       Yes, please.

 20                THE COURT:      Okay.     Mr. Fall, you're still under

 21       your obligation to tell the truth.             You understand

 22       that, correct?

 23                THE DEFENDANT:       Yes.

 24                THE COURT:      Okay.     Mr. Fall, yesterday you

 25       protested and objected about your ability to answer
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  1       certain questions that were posed to you by the

  2       Government during cross-examination, and the Court

  3       instructed you to answer the questions after you placed

  4       your objection and protestation on the record; and I'm

  5       again instructing you that you have to obey the orders

  6       of this Court and to answer the substantive questions

  7       that the Government poses to you.

  8                So I ask you this morning, are you prepared to

  9       follow the orders of this Court and to substantively

 10       answer the questions as posed to you by the

 11       Government's attorney?

 12                THE DEFENDANT:       It's my belief, sir, that I'm

 13       here to challenge jurisdiction of this matter because I

 14       was appointed counsel that I did not consent to.                 The

 15       counsel that was appointed to me spent no time with me

 16       before the trial, has admitted to me he has no

 17       experience winning a criminal trial in taxes, has

 18       admitted to me he has no experience assisting a man in

 19       common law; and as you know, I'm here as a man, only as

 20       a man only in common law at all times.

 21                I'm also challenging jurisdiction because there

 22       is no accuser in this case.          There is no sworn

 23       statement of accusation.          None.    Everybody knows that

 24       now.   So it's their case that needs to be discharged,

 25       and I require their case be discharged immediately.
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  1                There's seven more reasons I'm challenging

  2       jurisdiction that I'd like to get on the record.

  3                THE COURT:      Mr. Fall, I have --

  4                THE DEFENDANT:       By the way, sir, I don't mean to

  5       interrupt you, but you asked me a question.

  6                THE COURT:      I did and --

  7                THE DEFENDANT:       I have not received any orders

  8       directed to the man, John Joseph Fall.              I've not been

  9       presented any orders.

 10                THE COURT:      Mr. Fall, I have many times in the

 11       past and I am now again ordering that you,

 12       notwithstanding your claimed inability to answer the

 13       questions as posed, to in fact answer the questions

 14       that the Government has posed to you on

 15       cross-examination.        And I'll ask you now, will you

 16       assure me that you will -- now that your objection is

 17       placed on the record to answering the question, will

 18       you follow the Court's order and answer the questions

 19       substantively as posed to you by the Government?

 20                THE DEFENDANT:       It's my belief that I did answer

 21       the question.

 22                THE COURT:      It's this Court's ruling that you

 23       didn't and has ordered you to answer the questions

 24       substantively.      Will you assure me now that you've

 25       placed your objection on the record that you will
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  1       answer the Government's questions substantively as

  2       ordered by this Court?

  3                THE DEFENDANT:       I have not received an order to

  4       the man, John Joseph Fall.          That's part of my answer.

  5       The other part of my answer is I believe that I would

  6       be committing fraud to answer a question that does not

  7       relate to a sworn statement of accusation against me

  8       saying I did wrong.        And I'm not going to participate

  9       in fraud.

 10                THE COURT:      Mr. Fall, do you further understand,

 11       as I told you yesterday, that your continued refusal to

 12       obey the orders of this Court and to answer the

 13       questions substantively as posed to you by the

 14       Government after the Court's ruling and instruction to

 15       you could and will result in your direct testimony

 16       before this jury being stricken, which means that they

 17       will have no right or ability to consider anything that

 18       you testified to yesterday.          Do you understand that?

 19                THE DEFENDANT:       I do not consent to that.          I do

 20       not consent to the jurisdiction of your administrative

 21       court, nor your statutes.          I'm in common law.        I'm a

 22       man.   I have a right to my jury.           I have the right to

 23       tell my sworn testimony to the jury unobstructed

 24       without condition.        And I know my rights, and I'm

 25       asserting my rights.        And by the way, counsel cannot
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  1       assert my rights.       I'm here to assert my rights as a

  2       man.

  3                THE COURT:      Thank you, Mr. Fall.

  4                This Court rules as follows:           Mr. Fall has

  5       answered many questions on direct examination before

  6       the jury, including when his attorney addressed him as

  7       Mr. Fall.     When the Government addressed him as

  8       Mr. Fall at the beginning of its cross-examination of

  9       Mr. Fall, he would not answer the questions and

 10       protested that form of address, denying that he was, in

 11       fact, Mr. Fall.

 12                Moreover, on direct examination, Mr. Fall gave

 13       straight-forward answers to questions about whether he

 14       had used any other names by denying that he had.                 When

 15       asked on cross-examination whether he had used any

 16       aliases, Mr. Fall protested the question and said he

 17       would not answer the question even after being

 18       instructed by this Court to answer the questions

 19       substantively.

 20                This Court finds that Mr. Fall's evasiveness on

 21       cross-examination and his continued refusal to answer

 22       questions responsibly constitutes deliberate

 23       manipulation on his part in an effort to make his

 24       testimony as favorable as possible.

 25                I also find his evasiveness deprives the
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  1       Government of an opportunity to meaningfully

  2       cross-examine him.        I've warned Mr. Fall repeatedly

  3       that his failure to answer questions put to him after

  4       being ordered by this Court to do so could result in

  5       his direct testimony being stricken from the record;

  6       and if that happened, the jury would not be allowed to

  7       consider it.      In spite of that warning, Mr. Fall has

  8       persisted.

  9                Does the Government have a motion?

 10                MR. BENDER:      Yes, your Honor.       The Government

 11       moves to strike the testimony of Mr. Fall.

 12                MR. FITZGERALD:        Mr. Fitzgerald?

 13                THE DEFENDANT:       I do not consent and

 14       Mr. Fitzgerald is not my counsel.

 15                THE COURT:      Mr. Fall, I'm going to hear from

 16       your counsel now.

 17                Mr. Fitzgerald?

 18                THE DEFENDANT:       He's not my counsel.         I'm saying

 19       it under affirmation here.          He's not my counsel.

 20                THE COURT:      Mr. Fall --

 21                THE DEFENDANT:       I've never consented to him

 22       being my counsel.       Ever.

 23                THE COURT:      Mr. Fall, please stop talking now.

 24       I'm going to hear from your counsel.

 25                THE DEFENDANT:       I require my choice of counsel,
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  1       my choice of assistance of counsel.

  2                THE COURT:      Marshals, please remove Mr. Fall

  3       from the courtroom.

  4                THE DEFENDANT:       Let the record show that I'm

  5       being forcibly removed from the Court against my will

  6       over my objection, that my right to redress grievances

  7       have been deprived and my right to due process of law

  8       has been deprived.

  9                THE COURT:      Mr. Fitzgerald?

 10                MR. FITZGERALD:       Your Honor, I've got --

 11                THE COURT:      Why don't you hold on until I'm sure

 12       that Mr. Fall is in Courtroom 4 with live video and

 13       audio feed.

 14                (Pause.)

 15                THE COURT:      Officer Palumbo, can you report to

 16       me that Mr. Fall is in Courtroom Number 4 and that the

 17       live video and audio feed are working?

 18                COURT SECURITY OFFICER:          Yes, your Honor.

 19                THE COURT:      Thank you, Officer Palumbo.

 20                Mr. Fitzgerald?

 21                MR. FITZGERALD:       Your Honor, I'm going to object

 22       to his testimony being stricken.            I'm objecting to him

 23       not being allowed to further -- or to continue his

 24       testimony -- to further continue his testimony, your

 25       Honor.    Both of those rulings would impact his
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   1      constitutional rights, his right to defend himself, his

   2      right to testify, and I'm objecting to the Court and

   3      the Government essentially taking those rights away

   4      from him in this situation.

   5                THE COURT:     Thank you, Mr. Fitzgerald.

   6                The Court is going to grant the Government's

   7      motion to strike.        I'm striking his testimony from the

   8      record.     I find, specifically, this Court makes a

   9      finding that his conduct was knowing and intelligent

 10       and voluntary and that his knowing, intelligent,

 11       voluntary waiver of his constitutional right to testify

 12       was pursuant to those actions.

 13                 MR. FITZGERALD:       Your Honor, I have a motion.           I

 14       move for a mistrial at this point.

 15                 THE COURT:     Motion is denied.

 16                 Do either side -- I'll deal with the -- my

 17       plan -- what would the Government like me to say to the

 18       jury other than that I've stricken the testimony?

 19                 MR. BENDER:      Thank you, your Honor.         The

 20       Government looked at some cases about striking

 21       testimony, United States versus Bartello, 129 F.3d 663,

 22       a First Circuit case.

 23                 THE COURT:     Are you going to hand anything to

 24       me?

 25                 MR. BENDER:      Yes, your Honor.       There's copies
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   1      for everybody.

   2                THE COURT:     Thank you.

   3                MR. BENDER:      I'm at page six of the document I

   4      just handed, which is page 673 of the case.                And the

   5      case basically just explains the right of Government's

   6      cross-examination of a Defendant in this case, and it

   7      just says that the right is subject -- the Defendant's

   8      right to testify is subject to the Government's

   9      legitimate interest in testing the truth of the

 10       testimony offered by the defense through

 11       cross-examination.

 12                 And simply, the Government would ask that the

 13       Court instruct the jury that the Government was

 14       deprived of its interests in testing the truth of the

 15       direct testimony through cross-examination; and as a

 16       result, the Court struck the testimony and the jury

 17       cannot consider that testimony in their deliberations.

 18                 THE COURT:     That's a reasonable instruction.

 19                 Mr. Fitzgerald, any comment on the instruction?

 20                 MR. FITZGERALD:       Yes, that the Government has

 21       been deprived of some right.            I don't want it put that

 22       way to the jury.        They did see his testimony yesterday.

 23       I think it's safe to essentially just say his testimony

 24       is being stricken.        If we say he's being deprived now,

 25       you know, it's his fault and I think that makes the
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   1      situation even worse.

   2                THE COURT:     Okay.     My intention is to call the

   3      jury in now, give them an instruction on striking of

   4      the testimony.       I'll then ask Mr. Fitzgerald if he has

   5      anything further.        I'm assuming that you will then rest

   6      at that point.       I'll ask the Government if there's any

   7      rebuttal, though actually there wouldn't be any

   8      rebuttal because I struck the Defendant's case so there

   9      wouldn't be any rebuttal.           I'm thinking a little out

 10       loud here, if that's not obvious.

 11                 And then I am intending to release the jury

 12       for -- until one o'clock?

 13                 MR. FITZGERALD:        That's what you said yesterday,

 14       your Honor.

 15                 THE COURT:     Does that make sense?

 16                 MR. FITZGERALD:        Yes, that makes sense.         That's

 17       kind of what I planned on.

 18                 THE COURT:     That would allow us a little period

 19       of time to finalize the instructions.              I'll have them

 20       come back at 1:00, and we'll go right into closing

 21       arguments.

 22                 Mr. Kane?

 23                 MR. KANE:     Very well, your Honor.

 24                 Just on the instruction to the jury, does the

 25       Court intend to say something about cross-examination
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   1      in addition to striking the testimony?

   2                THE COURT:     What do you mean?

   3                MR. KANE:     Mr. Bender mentioned that in addition

   4      to saying the Court strikes the Defendant's testimony,

   5      is the Court going to say in a sense very briefly, as

   6      Mr. Bender pointed out, why, that the Government has

   7      been deprived of the right of cross-examination

   8      essentially?

   9                THE COURT:     I'm going to take a short break and

 10       think about it.        I'm going to actually write out what

 11       I'm going to say so I can give it some thought, so I

 12       don't know the answer to your question yet.

 13                 MR. KANE:     Because otherwise, the jury -- they

 14       obviously don't understand fully obviously the

 15       important rights that we understand through

 16       cross-examination, potentially the most important due

 17       process right we have.          And if you just strike it, the

 18       jury might be left with the impression that some sort

 19       of unfairness is befalling the Defendant.

 20                 MR. FITZGERALD:       The Government doesn't have a

 21       due process right.        This is the second time that the

 22       Government said that.         They don't have due process

 23       rights.

 24                 MR. KANE:     To cross-examination?

 25                 MR. FITZGERALD:       Do they have a right to
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   1      fairness to cross-examine?           Yes, I get that.        They

   2      don't have a due process right.

   3                THE COURT:     Right.     So perhaps what I'm thinking

   4      about is saying that in light of the fact that the

   5      Government did not conduct a full and complete

   6      cross-examination of Mr. Fall that his direct testimony

   7      is stricken, something to that effect, which attempts

   8      not to highlight blame but rather explain to them the

   9      reason for it, but they need some context for

 10       understanding that it's stricken.

 11                 Warning to counsel for both sides, as I said

 12       informally in chambers, implied informally in chambers

 13       when we discussed this, I don't want any mention or any

 14       inference by either side of anything that Mr. Fall said

 15       because I've now stricken his testimony.               That includes

 16       the Government attempting in a way to address it.

 17       Because as we know, I can instruct the jury to

 18       disregard testimony but they've heard it, and I assume

 19       and will order them to follow my instructions to put it

 20       out of their minds.         But I don't want anything seeping

 21       in from the Government concerned that they actually

 22       heard it and attempting to address anything that

 23       Mr. Fall might have said.           So I want you to be

 24       particularly careful of that.            It's easier for the

 25       Defendant because they can't argue it at all.                 But if
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   1      the Government is going to attempt subtly to rebut

   2      things that Mr. Fall said even though I've stricken his

   3      testimony, I'm not going to allow it.

   4                We'll be back in just a couple of minutes.

   5                (Recess.)

   6                (The jury is present for the following:)

   7                THE COURT:     Good morning, ladies and gentlemen.

   8      How is everyone doing?

   9                Let me ask you the usual questions.             I gave you

 10       certain instructions yesterday.             Can I be assured that

 11       all of you followed those instructions, that is you

 12       didn't discuss this case amongst yourselves or with

 13       anyone else; you didn't do any independent research,

 14       and you stayed off social media about your jury service

 15       or this case?

 16                 THE COURT:     Great.     All jurors have answered in

 17       the affirmative.

 18                 Ladies and gentlemen, when we recessed

 19       yesterday, Mr. Fall was on the stand and being

 20       questioned by the Government.            The Court has determined

 21       that Mr. Fall's answers on cross-examination were

 22       unresponsive; therefore, the Court halted the

 23       examination, and I have now stricken from the record

 24       the entirety of his testimony, both direct and cross.

 25                 I therefore instruct you that you are not to
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   1      consider his testimony at all.            None of his testimony

   2      given in this courtroom is evidence that is before you

   3      appropriate for use during your deliberations.

   4                Ladies and gentlemen, in light of that, and

   5      where we are, let me talk schedule with you a little

   6      bit.

   7                We weren't anticipating, as you can imagine,

   8      that we would be where we are right now.               I need an

   9      hour or two with the attorneys to finalize the legal

 10       instructions or whatnot.          It's part of the procedure we

 11       go through to prepare for closing and the instructions.

 12       So what I'd like to do and tell you is I'm going to

 13       release you until one o'clock.            You're welcome to stay

 14       here and hang out with us.           Not us, us, but in the

 15       courthouse.      You're welcome to go through downtown.               I

 16       would like you to take care of your lunch obligations

 17       before then.       What the plan is at one o'clock the

 18       Government will close -- before we do that, I

 19       apologize.

 20                 Mr. Fitzgerald, anything further for the

 21       Defendant?

 22                 MR. FITZGERALD:       No, your Honor.       The defense

 23       rests.     Thank you.

 24                 THE COURT:     Great.     Thank you.

 25                 I needed to do that officially.            The evidence
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   1      that you will have to deliberate is now complete before

   2      you.    The only thing remaining are the closing

   3      arguments of counsel and then the instructions of law

   4      that this Court will give you.

   5                My intention is at one o'clock the Government

   6      will present its closing argument to you.                The defense

   7      will then present its argument to you; and because as

   8      I've told you all along that the burden of proof is on

   9      the Government, they begin closing arguments and then

 10       they have a right to rebut after the Defendant.

 11                 So the Government will close, argument, the

 12       Defendant will close and then the Government has a

 13       right to -- sort of the last word so to speak because

 14       it's their burden.        I will then instruct you on the law

 15       and then you'll begin your deliberations this

 16       afternoon.

 17                 So I apologize for the inconvenience and the

 18       couple of hours that I'm giving you off.               Continue not

 19       to discuss this case.         You have now heard all the

 20       evidence.      What you have not heard yet is the closing

 21       arguments, and I'll tell you this a few times, closing

 22       arguments are not evidence.           They are argument.         They

 23       are the parties' attempt to persuade you toward their

 24       understanding of the facts and how those facts apply to

 25       the law and to argue to you what your verdict should
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   1      be.    But it's not evidence.         Anything that the

   2      Government says, as was their opening statements, not

   3      evidence.      And then I will instruct you on the law that

   4      you have to follow in applying it and then you'll begin

   5      your deliberations.

   6                So we will see you back here, and we will start

   7      promptly with the Government's closing at 1:00 p.m.

   8                (Recess at 10:30 a.m.)

   9                (The jury is not present for the following:)

 10                 THE COURT:     We have met, I've met with counsel

 11       on a couple of occasions and we've exchanged back and

 12       forth over jury instructions, and I've now distributed

 13       what the Court intends to be the final instructions.

 14                 I'll offer this opportunity to the Government

 15       and to Mr. Fitzgerald on Mr. Fall's behalf to state any

 16       objections to the instructions that wish to be made.

 17                 Mr. Bender?

 18                 MR. BENDER:      The Government doesn't have any

 19       objections to the instructions but we spoke with

 20       defense counsel and earlier defense counsel requested

 21       an instruction for Count I about the jury must agree on

 22       a specific obstructive act.           And the Government and I

 23       believe defense counsel would be agreeable to a similar

 24       instruction for Count II, the jury must agree,

 25       unanimously agree on a specific affirmative act.                  So
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   1      we're looking at page 10.

   2                THE COURT:     Of what was once the final version?

   3                MR. BENDER:      Correct.     Yes, your Honor.        The

   4      paragraph that ends on the top of page 10 discusses

   5      affirmative acts of evasion, and perhaps adding a

   6      sentence that "the jury must unanimously agree on a

   7      specific affirmative act" to the end of that paragraph

   8      might be appropriate.

   9                THE COURT:     You want it to read that the jury

 10       must agree, unanimously agree?

 11                 MR. BENDER:      Correct.

 12                 THE COURT:     Agree on what?

 13                 MR. BENDER:      On a specific affirmative act.

 14                 THE COURT:     Okay.

 15                 MR. BENDER:      But no objections to the

 16       instructions from the Government, your Honor.

 17                 THE COURT:     Okay.     Mr. Fitzgerald?

 18                 MR. FITZGERALD:        That would be the end of that

 19       paragraph that ends at the top of page 10?

 20                 THE COURT:     Correct.      Where it says, "Revenue

 21       service or conceal income period," and then the

 22       sentence is added.

 23                 MR. FITZGERALD:        Correct.    Other than that, I

 24       have no objections.

 25                 THE COURT:     Great.     Well, I'm going to make that
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   1      change and I will -- don't go anywhere because as soon

   2      as I come back we'll call the jury in.

   3                (Pause.)

   4                THE COURT:     Just before the jury comes in

   5      there's another note from Mr. Fall that he gave the

   6      Court security officers that will be marked as Court's

   7      Exhibit 15.

   8                With that, let's get the jury in.

   9                MR. BENDER:      Your Honor, could we just note that

 10       the Defendant is -- whether he's present in Courtroom 4

 11       for this?

 12                 THE COURT:     We'll have to wait for Officer

 13       Palumbo, but we'll certainly do that when he gets in.

 14                 MR. BENDER:      Thank you.

 15                 (Pause.)

 16                 THE COURT:     Officer Palumbo, can you verify for

 17       me that Courtroom 4 is available with a live video and

 18       audio feed and that Mr. Fall is present in Courtroom

 19       Number 4?

 20                 COURT SECURITY OFFICER:         Yes.

 21                 THE COURT:     Great.     Thank you.

 22                 Would you bring the jury in, please.

 23                 COURT SECURITY OFFICER:         Yes.

 24                 THE COURT:     We're off the record.

 25                 (Discussion off the record.)
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   1                (The jury is present for the following:)

   2                THE COURT:     Welcome back, ladies and gentlemen.

   3                Can you again assure me that you have followed

   4      the Court's instructions?

   5                Great.    All the jurors have affirmed that that

   6      was the case.

   7                Ladies and gentlemen, as I told you before, we

   8      are entering the argument stage on the case.                 The

   9      Government will get up shortly and present its closing

 10       argument to you.        We'll probably take a break after

 11       that and then the Defendant will come and argue to you,

 12       and then the Court will instruct you on the law.

 13                 Again, I instruct you arguments of counsel are

 14       not evidence.       You have now heard all the evidence.              I

 15       don't mean to downplay the arguments.              They are

 16       oftentimes very helpful in attempting to help you with

 17       what the facts are that you are to determine, so just

 18       remember they are not evidence.             The evidence you have

 19       heard or seen or will see when you deliberate.

 20                 With that, Mr. Kane on behalf of the Government.

 21                 MR. KANE:     Thank you, your Honor.

 22                 Your Honor, may it please the Court, counsel,

 23       members of the jury:         John Fall filed taxes before.            He

 24       filed taxes for the better part of his adult life, up

 25       until 1998.      He knew what the law was.           He knows what
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   1      the law is.      He knows what you know.          He knows what we

   2      all know.      When it comes to April of every year, the

   3      tax laws of the United States requires the filing of

   4      tax returns and the payment of taxes.

   5                But John Fall didn't want to pay taxes anymore

   6      come 1998.      As he stated in Exhibit 71-F, and if I can

   7      have that up, please.

   8                As he stated in Exhibit 71-F, "Haven't filed

   9      since 1998 and never will."

 10                 And so this Defendant embarked on a decade-long

 11       campaign to defy the law, to defy the IRS at every

 12       turn.    He did this with respect to his own taxes.                He

 13       did this with respect to his wife's taxes.                He did this

 14       through numerous layers of concealment, through

 15       numerous deceptions and deceits and falsehoods

 16       including the use of fake names and aliases.                 And when

 17       the IRS caught up to him, when the IRS got leads on his

 18       income and determined that his wife's returns were

 19       false, what did he do?          Did he come clean?        Did he

 20       cooperate with the IRS?          No.    He employed what he

 21       called his technology.          He papered the IRS with

 22       frivolous nonsense, what he knew was frivolous nonsense

 23       all in an effort to delay and impede the audits and the

 24       examinations.       All in an effort to harass the agents

 25       who were simply doing their jobs.
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                                                                                  23



   1                The IRS warned him against all of this multiple

   2      times going back as early as 2002.             Notice after

   3      notice, warning after warning telling him what he

   4      already knew, that the tax laws of the United States

   5      required the filing of tax returns and the payment of

   6      taxes; telling him that if he continued down the path

   7      he had chosen, he could be prosecuted.               And the IRS

   8      told him that multiple times.            But the Defendant

   9      continued to defy the law.

 10                 So deep and profound was this Defendant's

 11       philosophical disagreements with the IRS and the tax

 12       laws that he proclaimed himself in filings with the

 13       Providence City Hall a sovereign citizen, a sovereign

 14       living soul, in effect suggesting he's beyond the rule

 15       of law, that he's not a United States citizen.

 16                 But as this Court will instruct you, a

 17       disagreement with the law, however deep and sincere, is

 18       not a defense to the charges.            It is everyone's duty to

 19       obey the law.

 20                 In pursuing his decade-long campaign against the

 21       IRS and against the tax laws in his corrupt endeavors

 22       to hide and conceal, the Defendant broke the law

 23       multiple times, and he did so willfully.               For that, he

 24       must be held accountable.

 25                 Members of the jury, there are four charges for
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                                                                                  24



   1      your consideration, four counts in the Indictment.

   2                Count I alleges that the Defendant between 1999

   3      and 2010 corruptly endeavored to obstruct and impede

   4      the IRS.     The count alleges essentially everything you

   5      heard about during trial, all of his conduct with

   6      respect to his taxes and with respect to his wife's

   7      taxes.     This count also charges that he obstructed the

   8      audit after the filing of his wife's taxes by

   9      submitting false paperwork through an accountant and to

 10       the IRS; by telling his wife not to comply with an IRS

 11       summons, as well as other obstructive acts.                That's

 12       Count I.

 13                 Count II is tax evasion.          It charges the

 14       Defendant with evading the payment of his taxes for

 15       1998, '99 and 2000.         If you recall the evidence, the

 16       Defendant willfully failed to file his returns for

 17       those years.       The IRS caught a lead on his income

 18       through those W-2s and 1099s hitting the system.                  They

 19       proposed an assessment.          He filed frivolous paperwork.

 20       The IRS kept coming.         He decided to file returns.            He

 21       filed false returns.         They audited those returns.            They

 22       worked up their assessment.           They told him what the

 23       assessment would be.         They gave him an opportunity to

 24       challenge it, to appeal it, to even take it to tax

 25       court.     He didn't do so.       Those assessments became
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   1      final in 2005 and 2006.

   2                Count II charges that after that point, between

   3      2005 and 2010, he evaded the payment of those taxes by

   4      engaging in numerous acts of concealment, the same

   5      obstructive acts as charged in Count I, multiple

   6      entities, multiple fake names, multiple bank accounts

   7      and additional obstructive acts, additional affirmative

   8      acts.    That's Count II.

   9                Count III and IV essentially charge the same

 10       violation, that the Defendant aided and assisted in the

 11       false returns of Comfort Dental for 2006 and 2007, and

 12       specifically with respect to advertising expenses.

 13                 Let's take a look at those last counts first,

 14       the aiding and assisting counts.             And these counts boil

 15       down to essentially two questions for you to answer.

 16       First, were those returns false in terms of

 17       advertising; and second, did the Defendant willfully

 18       cause or participate or provide information that led to

 19       those false items, those false advertising deductions.

 20                 As the Court will instruct you, it's not

 21       necessary that the Defendant actually physically

 22       prepared those returns or that he actually signed those

 23       returns.     All that is necessary is proof that the

 24       Defendant provided false information or directions with

 25       the expectation that the information he provided would
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                                                                                  26



   1      be used to file a tax return.

   2                So let's take a look at the first question, were

   3      those returns false?         There can be no serious question

   4      that they were.        To begin, there was an audit of those

   5      returns.     And everybody agreed in that audit that those

   6      returns were false.         You heard from two accountants,

   7      Larry Rosen and Brian Tortolano, who came in into the

   8      audit; and as Brian Tortolano testified, it's their job

   9      to represent the taxpayer.           They had an interest, as he

 10       said, to prove the IRS wrong.            And as he testified,

 11       these expenses didn't exist.            The advertising expenses

 12       were not true, and so they agreed with the IRS

 13       examination and proposed changes.

 14                 Carmen Sanchez testified that these advertising

 15       expenses were not true.          She testified that no services

 16       were provided by Washington Allocation or JV Services,

 17       and she ran the dentistry but she also testified that

 18       she handled the communications and the advertising in

 19       her community, that she provided the script, that she

 20       worked with SuperMax and Cumbre Communications, the

 21       actual advertisers that provided services to Comfort

 22       Dental.

 23                 Ken Cournoyer, obviously the IRS agent who did

 24       the audit.      He tried to find information on these

 25       companies.      He tried to find contact information,
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                                                                                  27



   1      telephone numbers.        They didn't exist.

   2                How else do you know these returns were false in

   3      terms of advertising?         Those invoices that were used to

   4      substantiate the deductions.

   5                Let's have 301-H.

   6                These are examples of both the JV Services and

   7      the Washington Allocation invoices, very similar PO

   8      boxes in Texas.        As one witness I think testified,

   9      these were basically pro forma printouts, appear to be

 10       printouts from QuickBooks.           Repeatedly everybody asked

 11       John Fall, as well as others, where is the contact

 12       information for these companies, where are these

 13       companies, where is additional proof that they even

 14       exist?     And none was forthcoming.

 15                 As Ken Cournoyer with the IRS testified, on

 16       their face these invoices are suspicious.                The lack of

 17       contact information and the fact that the amounts are

 18       tied to the revenues of the business, which is unlike

 19       all the other advertising expenses which charge for a

 20       finite or a definite amount of time that is on the air.

 21       But these are tied to the revenues because John Fall

 22       set up those payments on an automatic basis, as I think

 23       he said in one document, that would continue every

 24       month.

 25                 How else do you know that the returns were
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                                                                                  28



   1      false?     In addition to the fake invoices and in

   2      addition to everybody agreeing at the audit that these

   3      expenses were fake, you saw the true disposition of

   4      these funds, and most of them did not go to

   5      advertising.

   6                Let's take a look at Exhibit 421-E.             And I think

   7      I have a blowup for this.

   8                This is a demonstrative that Agent Pleshaw

   9      testified to.       And you also saw the long form summaries

 10       entered into evidence for the JV Services account down

 11       in Texas.

 12                 First of all, why is there advertising going on

 13       down in Texas, using a company down in Texas when the

 14       advertising was local with local radio stations?                  But

 15       in any event, the money didn't go to advertising, or at

 16       least most of it didn't.          It goes into an account in

 17       Texas in the name of JV Services; and then from there,

 18       as the testimony came out, John Fall had sent on to the

 19       actual advertisers about $48,000 over those years.                     The

 20       remainder of those funds go up to his warehouse

 21       accounts, including warehouse accounts in Iowa.                  Did

 22       not go to advertising.          And the amounts that did go to

 23       advertising were accounted for in the adjustments at

 24       the audit.

 25                 The fact that JV Services just turned around and
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                                                                                  29



   1      sent the money right back to Cumbre Communications and

   2      SuperMax shows they didn't provide any service at all.

   3      Basically, John Fall sent this money into an account he

   4      controlled and then took a cut and sent it up to his

   5      warehouse accounts in Iowa.

   6                So at the end of the day -- if I can have 423,

   7      please.

   8                This is a summary of the adjustments that Agent

   9      Pleshaw testified to.         For 2006, 58,000 and change; and

 10       for 2007, 20,000 and change, basically over-statements

 11       of the advertising.

 12                 The evidence at trial also showed that there

 13       were false advertising expenses for 2005, but the

 14       counts in the indictment relate to 2006 and 2007, at

 15       least as to Counts III and IV.

 16                 All right.     The second question:         Did John Fall

 17       participate in causing these false expenses?

 18                 To begin, the testimony was did he have an

 19       office at Broad Street upstairs, that he participated

 20       in the financial affairs of his wife.              Now, when it

 21       came time to learning about these expenses, everybody

 22       turned to John Fall.

 23                 You heard testimony from Cielito Deayala, and

 24       you saw documents sent to Cielito Deayala.

 25                 Let's have 287-C, please.
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                                                                                  30



   1                This relates to equipment leasing, which was

   2      another false item on these returns that relates to the

   3      obstruction count, but this document shows, and you can

   4      see the fax header at the top right of the page, that

   5      John Fall had direct contact with the bookkeepers of

   6      the business.       He was directing these expenses.             He was

   7      causing these expenses and not only causing these

   8      payments, but he was directing the characterization of

   9      these payments as leasing expenses, which ended up on

 10       the returns as false items.

 11                 Let's have Exhibit 110-A, please.

 12                 You heard Cielito Deayala talk about this

 13       document.      This is an envelope containing tax

 14       information.       If you look at the next pages after this

 15       document or after the first page, they're QuickBook

 16       reports on some of these expenses.             And Cielito Deayala

 17       testified this envelope was given to John Fall and

 18       that's her handwriting.

 19                 Let's have 287-B.

 20                 Carmen Sanchez testified to this document.               This

 21       was an instruction sheet for payments that John

 22       prepared.      Many exclamation points throughout this one,

 23       which was a characteristic of his text and writings,

 24       especially in all those documents that came from the

 25       George Jaquez disks.
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   1                Additional evidence showing that he caused or

   2      participated in causing these false items, you heard

   3      testimony from Viva Johnson.            She said that he

   4      participated in Broad Street.            She had interactions

   5      with him on Broad Street and that when there were

   6      questions about these particular advertising expenses

   7      and the expenses with Washington Allocation, she spoke

   8      to John.

   9                And let's take a look at Exhibit 299-A.               In this

 10       particular case, John told her not to make the payment.

 11       "Per John, do not pay."          Showing you that he was

 12       directly involved in these expenses and causing them to

 13       be sent and to be recorded as false expenses.

 14                 You heard testimony from Ken Cournoyer, the

 15       agent.     He testified that when Carmen Sanchez was

 16       ordered to appear for a summons after her husband told

 17       her not to appear, John Fall came with her and he

 18       started asking questions about these expenses, and she

 19       didn't know anything about the expenses and she turned

 20       to John Fall for answers, "Tell them, John."

 21       Additional evidence he caused these expenses.

 22                 All the evidence showing John Fall's anti-tax

 23       rhetoric and research, all of his efforts to try to

 24       hide and conceal, and you'll find that evidence from

 25       George Jaquez disks, the documents taken off those
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                                                                                  32



   1      disks that Agent Dickerman testified to, and they can

   2      be found between 62 and 98, and I'm going to show you a

   3      few here today.

   4                Extensive research on how to hide assets,

   5      extensive research on using aliases, extensive research

   6      on how to go about disappearing showing you that he, of

   7      course, was the one behind these expenses.

   8                In addition, JV Services itself was his company.

   9      He's the one that set it up in Nevada, the super-secret

 10       state that he researched.

 11                 Let's have 141-B and 141-D.           These are the

 12       formation papers in Nevada for both Washington

 13       Allocation and JV Services.

 14                 The names and the nominees and the officers used

 15       are names and nominees tied to him, Consignment

 16       Partners, Thomas Brown.          Those are him.

 17                 Let's have his cheat sheet up, if we can.               60-A.

 18                 Found in a room at Broad Street that he left

 19       behind, a room that George Jaquez testified in no

 20       uncertain terms that John Fall is the only one who had

 21       access to.      Creating a list of names, companies and

 22       even in the left-hand side his warehouse banks.                  He had

 23       so many he had to keep it straight on his cheat sheet.

 24       And obviously, one of those names is Thomas Brown.

 25                 71-I, please.
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                                                                                  33



   1                And here's a document from the George Jaquez

   2      disks, some of the research, just one example.                 Nevada,

   3      the super-secret state, no disclosure with the IRS.

   4      Establishing companies in Nevada can help you keep a

   5      low profile.       Additional evidence that he caused these

   6      expenses.      Not only did he control and set up these

   7      companies, he controlled the bank accounts.

   8                Again, not only do the bank accounts show the

   9      expenses didn't go to advertising, but he set up the

 10       company; he set up the bank account in Texas, a bank

 11       where he had three other accounts, and he had an

 12       additional account at another bank in Texas.                 And if

 13       you look at the summaries of those bank records, you

 14       see funds of his and Comfort Dental's going into his

 15       accounts showing that he controlled the company and he

 16       controlled the money.

 17                 In addition, of course you heard from Carmen.

 18       Carmen said it was John's idea to have these payments,

 19       that these entities didn't provide any services, that

 20       it was him.      She testified credibly.          And the

 21       Government is not asking you to rely on her testimony

 22       alone.     There is all sorts of evidence in the documents

 23       and in the other testimony of witnesses that

 24       corroborate what she says.

 25                 In addition, his involvement in the audit.
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                                                                                  34



   1      After the returns were filed, the returns were audited.

   2      And when it came time to represent Comfort Dental,

   3      remember Bill Harrigan's testimony.              Usually he goes to

   4      the bookkeeper in the business and he tried to with

   5      Veva Johnson in this case.           But very shortly after the

   6      audit started, the point person became John Fall, which

   7      shows you he knew what these expense were about.                  When

   8      there were questions about these expense, the point

   9      person was John Fall.

 10                 Let's have 301-E up.

 11                 Just one example of the correspondence between

 12       Bill Harrigan and John Fall, a letter or e-mail for

 13       Bill Harrigan and John Joseph Fall.              The IRS was asking

 14       questions on what these expenses were all about.

 15       Where's the support?         Where's the proof?        And he sets

 16       forth his false justifications for JV Services and

 17       Washington Allocation, and he explains that these were

 18       on an automatic pilot.          They were on an automatic pilot

 19       set up either months or years ago.             Years ago.      Three

 20       years ago.      Automatic pilot.

 21                 When there were questions about these expenses,

 22       people went to John Fall.           And not only did he provide

 23       information or answer questions, he also provided false

 24       documentation.

 25                 Exhibit 304.
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                                                                                  35



   1                This is the false script or justification of a

   2      script sent to a John, John Fall, from a Paul Swanson.

   3      Paul Swanson being one of his fake names and aliases.

   4      A document that was supposed to allegedly substantiate

   5      the advertising expense explaining that JV Services

   6      provided the script, but Carmen Sanchez testified that

   7      one of the things she did in the business was to handle

   8      the advertising.        She handled the script.          She dealt

   9      with SuperMax and Cumbre Communications.               This document

 10       was utterly and completely false.             And we know it was

 11       false in addition because the name, Paul Swanson,

 12       appears on one of those stamps.             There was a signature

 13       stamp for Paul Swanson found in that room where only

 14       John Fall had access.

 15                 In addition, Paul Swanson appears on the cheat

 16       sheet, 60-A, the cheat sheet found in a room where only

 17       John Fall had access.

 18                 And you know this cheat sheet is his not only

 19       because he had access, the only access to that room,

 20       but with that cheat sheet were the stamps as well as

 21       those George Jaquez disks.           And if you look at the

 22       documents, he's identified all over the documents as

 23       being the author.        Those disks were his, the cheat

 24       sheet was his.

 25                 And finally, final information and evidence
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                                                                                  36



   1      showing that he was behind these expenses is the fact

   2      that not only did he falsify the advertising expenses,

   3      but he falsified other expenses as well.               The leasing

   4      expenses as well as false deductions on the personal

   5      returns of Carmen Sanchez showing you that the false

   6      advertising expenses were not a mistake and that he was

   7      behind the falsification of these returns.

   8                Let's have 424, please.

   9                This is a summary of the leasing adjustments by

 10       Agent Pleshaw.       And if you recall the testimony, before

 11       the advertising expenses there were false deductions

 12       for leasing expenses related to an asset allegedly

 13       purchased or leased from Managed Skills.               The evidence

 14       is that that company did not exist, did not provide

 15       services.      Everybody testified to that.           The

 16       accountants, Carmen, there was no such asset.

 17       Substantiation was requested.            It was never provided.

 18       First, allegedly it was being leased and that was the

 19       justification for the expense, and then there was this

 20       alleged buyout agreement and John Fall provided false

 21       documentation in the audit on that, and then there was

 22       a depreciation expense.          The evidence is overwhelming

 23       that this company provided nothing and these expenses

 24       were false.

 25                 And we know John Fall was behind these leasing
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                                                                                  37



   1      expenses as well.        If we look at 87-B, this is his

   2      internal accounting record of these expenses found on

   3      the George Jaquez disks.          Income and outgo for Comfort

   4      Dental.     He's tracking the payments out of Comfort

   5      Dental to his various companies, including Managed

   6      Skills, Professional Equipment and Profit Management.

   7      And how does he list these expenses?              As expenses that

   8      ended up on the return.

   9                You heard testimony about the false return for

 10       2005, the personal return of Carmen Sanchez.

 11                 If we can have that up, 8-A at page 1 and 7.

 12                 Washington Allocation expenses appear not only

 13       on the corporate returns but on the personal return as

 14       well for 2005.

 15                 You also heard testimony that Carmen Sanchez

 16       essentially had head-of-household filing status through

 17       three or four years when David Seidman was the

 18       preparer, even though they lived together all for about

 19       a year when she moved to Providence.              That was false.

 20                 So members of the jury, that's Counts III and

 21       IV.    The returns were false, and John Fall was behind

 22       the falsities and he willfully caused the falsities.

 23                 Let's now go back to Count I, the obstruction

 24       charge.     Again, this charge basically alleges -- it's

 25       an all-encompassing charge alleging that he obstructed
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                                                                                  38



   1      the IRS with respect to his taxes and with respect to

   2      her taxes.      In addition, it alleges that he obstructed

   3      the audit.

   4                Now, if you find the Defendant guilty on Counts

   5      III and IV, you may also find him guilty on Count I

   6      because as part of Count I we charge the falsification

   7      of those corporate returns.

   8                In addition, he obstructed the audit.              We've

   9      already talked about the false documentation that he

 10       provided during that audit.

 11                 Let's have 307-B.

 12                 This is another piece of -- this is another

 13       document he provided that was false supposedly

 14       substantiating the Managed Skill deduction and that was

 15       false according to the witnesses and the documents.

 16                 So if you find that he falsified the returns of

 17       Comfort Dental or obstructed the audit, you may find

 18       him guilty on Count I.          And as the Court will instruct

 19       you, the Government need only prove one obstructive act

 20       with respect to Count I.

 21                 In addition, he obstructed the audit by telling

 22       Carmen Sanchez not to show up at a summons, encouraged

 23       her not to comply with the tax laws and the IRS.                  And

 24       the testimony from her was very clear, "He told me not

 25       to go."     And that forced an enforcement action before
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   1      the United States District Court for the District of

   2      Rhode Island, and she was ordered to appear.                 That was

   3      an obstruction.

   4                So now let's talk about the broader conduct

   5      alleged in Count I, which is the fact that he tried to

   6      obstruct the IRS with respect to his income and his

   7      wife's proper deductions and income.

   8                To sum up his scheme, it was hide and harass.

   9      Two words, hide and harass.           He hid by creating

 10       multiple layers of concealment to distance himself from

 11       his assets and income.          He harassed when the IRS caught

 12       up to him.      He filed mountains of frivolous paper in an

 13       effort to stop and impede and intimidate agents hoping

 14       the audit would either be delayed or would go away.

 15                 Let's talk about the hiding first and what was

 16       he hiding.      The evidence is he was in income-producing

 17       activities.      He was in real estate, he owned property,

 18       he earned rent, he was a real estate broker.                 You saw

 19       that in the license that was offered into evidence.                    He

 20       also told people that he made money.

 21                 Let's have 71-F, please.

 22                 This is actually an internal memo he had, found

 23       on the George Jaquez disks, in which he states he made

 24       $150,000, 90,000 of it which was profit.

 25                 Let's go to 248-A.
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                                                                                  40



   1                A life insurance policy that he applied for.

   2      Annual income, $104,000 he represents.               And he takes

   3      the policy out in the name of Profit Management, one of

   4      his entities.

   5                387-A.    This is the financing for the Lexus, an

   6      application.       The scanned copy is not the best.             The

   7      hard copy you'll be able to read better, but down at

   8      the bottom he represents he makes $8,000 a month, which

   9      is about $96,000 a year.

 10                 You saw evidence that he owned Ohio Street and

 11       tried to transfer it into different nominees before he

 12       sold it to the McGraths and then had the payoff sent to

 13       Eleganza Leasing, which was one of his entities, having

 14       that payoff sent across the country to the State of

 15       Washington.

 16                 You saw bank accounts with multiple deposits and

 17       payments tied to him.         The Defendant made money.

 18                 But the Court will instruct you we don't have to

 19       prove how much, and we don't have to prove a tax loss

 20       with respect to Count I.          The point of Count I is that

 21       the Defendant tried to obstruct the IRS from even

 22       finding out what his income and taxes would be.

 23                 So let's talk about the layers of concealment.

 24       Multiple, multiple layers.           Step one, his multiple

 25       entities and shell companies.
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   1                And if we could have that chart up, please.

   2                By our count, at least 16 different entities

   3      tied to this Defendant, entities set up to create

   4      distance between himself and any assets and income.

   5      Multiple entities to disguise his income and assets.

   6      Revenue Management Services, that was him.

   7                Let's have 68-A.

   8                A document found on the George Jaquez disks, one

   9      of the many, showing that he lists himself as a general

 10       partner.     We know what that means.          He owned and

 11       controlled this entity.          And all of these entities

 12       didn't file tax returns.          With respect to except for

 13       one, NERH the record shows that he filed one in 2005

 14       and reported no taxes and no income.              Other than that,

 15       these entities did not file.            Managed Skills, Profit

 16       Management, Stratford Management, some of these other

 17       entities, those were him.

 18                 Let's take a look at Exhibit 41.

 19                 This is the intake sheet found at Melissa

 20       Sugar's business when there was an execution of a

 21       search warrant when she was investigated.                This sheet

 22       shows that he was a client of Melissa Sugar.                 And

 23       Melissa Sugar helped him set up an account in Colorado

 24       in the name of Stratford Management where he used not

 25       only Stratford Management but all of these entities.
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   1      And as you can see from the document, these were John

   2      Fall's entities.

   3                Eleganza Leasing, Venture Lending, those were

   4      him.

   5                Let's have the cheat sheet again, 60-A.

   6                Listing Eleganza Leasing and Venture Lending.

   7      And you saw the check, payoff check for the Ohio Street

   8      sale go to Olympic Business Systems in Washington.

   9                Washington Allocation, JV Services, we've

 10       already talked about them.           Those were him.       NERH, that

 11       was his company.

 12                 141-A, please.

 13                 The Secretary of State filing for NERH, again,

 14       using Thomas Brown and Consignment Partners as officers

 15       and representatives, those names being found in his

 16       room or in the room that he had access to at Broad

 17       Street.

 18                 Exhibit 251-A, a bank account he opened up at

 19       Fidelity, a retirement account in the name of NERH

 20       under his name, John Fall.

 21                 And of course, you saw the bank account evidence

 22       of NERH where his funds are going into accounts in the

 23       name of NERH.       Not only did he use multiple entities,

 24       but he changed the entities over time.

 25                 If we can have that chart up.
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   1                In the early years, he used Revenue Management

   2      Services, and then he used multiple entities for a

   3      period of time, and then he switched to JV Services and

   4      Washington Allocation and NERH to add another layer of

   5      concealment, changing companies, putting them on the

   6      shelf, making them less visible.

   7                So that's one layer.         Multiple entities, 16 by

   8      our count where the Defendant set up these entities to

   9      conceal assets and income.           And if you look again at

 10       Exhibit 62 through 98 if you need to, we went through a

 11       lot of them with Agent Dickerman's testimony, you'll

 12       see the efforts he went to create all these entities

 13       confirming that they were all his.

 14                 Step two, multiple bank accounts.             Not only

 15       multiple bank accounts, but bank accounts throughout

 16       the entire country.

 17                 Let's have that chart, please.

 18                 Numerous bank accounts he had funds sent to

 19       throughout the country.          Bank accounts that don't have

 20       his name on them.        Bank accounts in Washington, in

 21       Iowa, in Colorado, in Texas, in Maryland.                You heard

 22       Ken Cournoyer say he found an account in Georgia.                  He's

 23       having funds sent out from Providence through these

 24       various bank accounts all in order to reduce his paper

 25       trail.     None of the accounts bear his name, all in the
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   1      name of nominees and some of these accounts were what

   2      you heard were co-mingled or warehouse bank accounts

   3      where they weren't just his funds, but they were other

   4      people's funds making it difficult to trace the source

   5      of funds.      Not only that, but he also moved money

   6      between these accounts making it even more difficult to

   7      trace.

   8                Members of the jury, who banks this way?               Who

   9      banks this way?        Nobody banks this way.         He had no

 10       legitimate purpose to do this.            He had no property in

 11       these states.       He had no business in these states.              You

 12       heard Carmen testify that he may have traveled to

 13       Panama once, but he didn't go to these states.                 No

 14       reason for this other than to conceal and to hide

 15       assets and income.        And it was an elaborate way to do

 16       it.    An elaborate way to do it.           Multiple bank

 17       accounts.

 18                 The next step, the next layer, multiple fake

 19       names and aliases to create more distance.

 20                 If we could have that chart, please.

 21                 The Defendant used multiple names and aliases to

 22       create further distance between his assets and income.

 23       You'll find again on the George Jaquez disks research

 24       on how to use aliases, admissions by him that he was

 25       using aliases, and those were in a number of the
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   1      documents.      John Johnson, that's him.

   2                You can put that down.

   3                John Jonathan, that's John Fall.

   4                If I can have 301-L, please.

   5                An e-mail between John Fall and Bill Harrigan.

   6      And you saw multiple e-mails between Bill Harrigan and

   7      John Fall where he's using John Jonathan.                And there's

   8      only one reason he's doing that, to use aliases to

   9      conceal his identity and to minimize papers trails.

 10                 Thomas Brown and Robert Johnson, we talked a

 11       little bit about that already.            Those were him.        Again,

 12       the cheat sheet had those names on it, the cheat sheet

 13       found in a room where only John Fall had access.

 14                 The signature stamp in the name of Robert

 15       Johnson, that's at 60-D.

 16                 And then there's 70-B again from the George

 17       Jaquez disks, an e-mail that John Fall sent to somebody

 18       who apparently was helping him create fake IDs

 19       basically asking to create fake IDs for Robert Johnson

 20       and the name Thomas Brown suggesting that he would use

 21       stock photos of a younger man and an older guy and also

 22       using addresses for the ID possibly out in Arizona.

 23       E-mail from John Fall.          And of course, that fake ID he

 24       had created was found in the room where only he had

 25       access on the George Jaquez disks, 70-D.
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   1                John Cusick, the name John Cusick, that's him.

   2      That's John Fall.        280 at page 5.

   3                E-mails, you heard testimony from Lou Caccavaro

   4      and Veva Johnson who testified that John Cusick was on

   5      the e-mails that they had in communications with John

   6      Fall.    Why is he using John Cusick in e-mails?               Why is

   7      he using John Jonathan in e-mails?             Why is he not using

   8      his own name?       Because he's trying to stay under the

   9      radar.

 10                 Bob MacNeil, that's him.          104-D at page 2.

 11       Smart Buyer letterhead, tied to his address at Ohio

 12       Street, a solicitation for real estate, Bob MacNeil.

 13       That's John Fall.

 14                 We've talked about Paul Swanson.            That's on the

 15       cheat sheet.       Also the signature stamp found in the

 16       room where only he had access.            John Paul, the name

 17       John Paul, he had another fake ID with his picture this

 18       time.    That's 104-A at page 7.

 19                 So multiple companies, multiple bank accounts,

 20       including co-mingled and warehouse bank accounts

 21       throughout the country, fake names and aliases.

 22       Multiple layers of concealment.

 23                 But there was a fourth step.           The extensive use

 24       of cash.     John Fall used cash.         He had lots and lots of

 25       cash sent back to Broad Street.             You heard some
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   1      testimony from Cielito Deayala, I believe.                A package

   2      came in the mail with cash in it and John Fall got that

   3      package.     But you also saw documents entered into

   4      evidence.

   5                Let's have 79-C, again from the George Jaquez

   6      disks, his disks.

   7                If you look at the documents entered into

   8      evidence from George Jaquez, you'll see all the

   9      warehouse bank account correspondence that he had with

 10       these promoters of these various bank accounts.                  He

 11       would ask that they write checks or send him money back

 12       including in the form of cash.            And this is one

 13       example.     In this case, asking to have sent back

 14       $26,000 in cash mailed to John Fall, attention John

 15       Fall, urgent, at Comfort Dental on Broad Street.

 16                 81-A at page 5.

 17                 Another mailing of cash, $5,500 to John Fall at

 18       Comfort Dental.        And note the special instructions by

 19       John Fall.      Please do not put your return address.                Use

 20       my, my Managed Skills instead, exclamation point.

 21                 81-B at 5.     More cash being mailed back to him

 22       at Comfort Dental, $1,500, attention John Fall.

 23                 81-C at page 7.       More cash back to John Fall,

 24       $2,000.

 25                 81-C at page 9.       $5,500 in cash back to John
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   1      Fall at Comfort Dental.          And 81-D -- and these are just

   2      some of the examples, members of the jury, 81-D, $3,000

   3      in cash.     That's another layer of concealment, the

   4      extensive use of cash to minimize the paper trail.

   5                Another layer of concealment is that with

   6      respect to all these identities he used multiple

   7      mailing addresses not tied to Wheeler Ave. or tied to

   8      Broad Street but addresses in Arizona and elsewhere

   9      trying to create more distance between these entities

 10       and where he resided.

 11                 He also used multiple e-mail addresses, multiple

 12       e-mail addresses.

 13                 Another form of concealment is that when the

 14       issue of NERH came up, when the IRS issued a summons

 15       and a request for the funds that Lou Caccavaro held in

 16       his escrow account, the Defendant provided false

 17       statements to a Federal Court denying his interest in

 18       NERH, even though you saw evidence that he is NERH.                   He

 19       set it up, he ran it, he controlled it, he owned the

 20       funds.     He denied all of this in a filing in Federal

 21       Court.     And then he had a Peter Fettig write a letter

 22       to Lou Caccavaro telling Lou Caccavaro not to turn over

 23       the funds to the IRS and not to turn over information

 24       to the IRS.      And that's at 282-C at page 1.

 25                 Lou Caccavaro when he got this contact from the
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   1      IRS, he said that one of the first people he called was

   2      John Fall because he knew that John Fall was a

   3      representative of NERH.          He also testified that John

   4      Fall was the common contact he had with all of the

   5      entities that he brought a suit against to determine

   6      whose funds they were because it was John Fall behind

   7      all of those entities.

   8                So members of the jury, we're talking about

   9      Count I.     We're talking about his scheme to hide and

 10       harass.

 11                 Let's turn to the harassment.           Despite his best

 12       efforts to create these multiple layers of concealment,

 13       the IRS got leads.        They got leads on his income.

 14       There's those W-2s as well as some other information,

 15       and they got leads on his wife's false returns.                  But

 16       rather than come clean, rather than cooperate, the

 17       Defendant tried to stall the audits and the

 18       examinations, tried to impede and delay the

 19       examinations.       And the way he did that is he filed

 20       frivolous paper, paper after paper both making

 21       allegations as well as asking frivolous, frivolous

 22       questions that he knew were frivolous, that he was told

 23       were frivolous.        Questions and statements that he's

 24       sovereign, statement that he's not a United States

 25       citizen, statements that the IRS only has jurisdiction
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   1      in Puerto Rico, questions asking what type of tax do I

   2      owe when it's perfectly obvious from the paperwork that

   3      it's the Federal income tax that's at issue.

   4                He wasn't looking for answers.            He was looking

   5      to delay.      He filed an $8 million claim against the

   6      agent who was trying to just do their job.

   7                You heard from our first witness, Shauna

   8      Henline, the senior technical coordinator at the

   9      Frivolous Filer Unit in Ogden, Utah.              The IRS set up a

 10       whole unit to deal with this kind of paperwork.                  And

 11       she testified that they send out what they call a soft

 12       letter informing the Defendant and any taxpayer who

 13       files such frivolous correspondence that what they're

 14       doing is wrong; that their filings are frivolous; that

 15       the tax laws of the United States require the filing of

 16       returns and the payment of taxes; that the Federal

 17       courts, the courts of law in this country have ruled

 18       against your arguments over and over, but if you

 19       continued on the path you have chosen you can be

 20       prosecuted.      Providing citations to statutes, providing

 21       advice to seek counsel or attorneys or accountants.

 22       And she testified the policy is usually to send one

 23       notice but in the record are multiple, multiple letters

 24       from the IRS telling him that all of this was nonsense,

 25       all of this was wrong, all of this was not an accurate
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   1      statement of the law.

   2                You know the Defendant's intent was not a

   3      good-faith request for information by the

   4      correspondence he had with Bill Harrigan during the

   5      audit.     There were multiple e-mails in which he states

   6      really the purposes of its technology is to stop the

   7      audit.     This was his technology.

   8                Let's just take a look at 302-B as one example.

   9                Promising Bill that if he would only agree to do

 10       it his way, all of this will go away.              Having nothing

 11       to do with the merits, having nothing to do with the

 12       actual substance of the audit, but using his technology

 13       maybe it will all go away as sure as the sun will rise

 14       in the East.       That's not good faith.         That's not a good

 15       faith, genuine, honest search for the truth.                 That's

 16       not somebody who is genuinely looking for answers.

 17       That's somebody who is looking to obstruct and impede.

 18                 You can put that down.

 19                 So that's Count I.        One final count.        Count II,

 20       the tax evasion count, charges the Defendant with

 21       evading payment of taxes between 2005 or '06 and 2010,

 22       for the 1998, '99 and 2000 tax returns.               The IRS worked

 23       up their assessments and between 2005 and 2010 he

 24       engaged in multiple acts of evasion.

 25                 The Court will instruct you that to prove this
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   1      charge the Government must prove three elements:                  That

   2      the Defendant engaged in an affirmative act of evasion,

   3      which is really any act the likely effect of which will

   4      mislead or conceal; second, that he actually had a tax

   5      due and owing; and third, that his conduct was willful,

   6      that is, he intentionally violated a known legal duty.

   7                As to the first element, did the Defendant

   8      engage in affirmative acts of evasion?               We've already

   9      gone through that.        All of the obstructive acts with

 10       respect to multiple entities and shell companies, the

 11       use of fake names and aliases, the use of multiple bank

 12       accounts, the use of cash are all charged as

 13       affirmative acts for Count II.            So that's the first

 14       element of tax evasion.

 15                 The second element is the tax due and owing.

 16                 And if we could have 425-A, please.

 17                 This is the summary by Agent Pleshaw, which is

 18       largely based on the assessments rendered by the IRS

 19       auditors.      And for each of those years, there was a

 20       substantial tax due and owing.            The actual tax due and

 21       owing is at these lines.          Ten thousand and change for

 22       1999; 4,700 for 2000; and about 27,000 for 1998.

 23                 Collectively and separately, each of these

 24       amounts are a substantial tax.            But when the IRS does

 25       an examination, as you heard, when somebody doesn't
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   1      file, they file their substitute for return, which is a

   2      zero return, and then they have W-2s and 1099s that

   3      they work with.        But that doesn't capture all of their

   4      income necessarily.         And in this case, John Fall had

   5      additional payments going to him, and we saw that in

   6      the warehouse accounts for '99 and 2000, the payments

   7      going to Revenue Management Services.

   8                So if we take a look at 425-C, this is a summary

   9      by Agent Pleshaw in which those payments are added or

 10       the taxes based on those payments are added.                 So that

 11       for those years, he actually had a bigger tax due and

 12       owing than was actually assessed.             And if the 1998 year

 13       is taken away, he still had a substantial tax due and

 14       owing.     So there is a substantial tax due and owing.

 15                 That brings us to the third element,

 16       willfulness, the intentional violation of a known legal

 17       duty.

 18                 One other point on the tax due and owing.               Now,

 19       you heard some questions and some testimony about the

 20       payment, the collection suit, the payment of those

 21       taxes for '98, '99 and 2000.            There was a forced

 22       collection action in 2011 and that appears on the

 23       transcripts, but that's not relevant to the charge.                    As

 24       the Judge will instruct you, so long as there was a tax

 25       due and owing at the time the Defendant committed an
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   1      affirmative act, the tax due and owing element is

   2      satisfied.      He committed affirmative acts in 2006, '07,

   3      '08 and '09, all at a time when he still had a tax due

   4      and owing, and when he committed those affirmative acts

   5      at a time he had a tax due and owing, the crime was

   6      complete.

   7                Now to willfulness.        Was the Defendant's conduct

   8      willful?     Did he know of his legal duty and did he

   9      intentionally violate it?           The evidence is overwhelming

 10       that he did.       He knew what his duty was under the tax

 11       laws.    He filed taxes before.          He was told by the IRS

 12       what his duty was, which he already knew.                This was not

 13       a mistake.      This was not a misunderstanding.             He

 14       willfully broke the law.          And you further know that his

 15       conduct was willful and not in good faith because of

 16       all the hiding he engaged in.

 17                 The Court will instruct you that if you find

 18       that the Defendant acted in good faith or had a

 19       good-faith belief that he didn't have to file or that

 20       he was in compliance with the law, then that's a

 21       negation of willfulness.          But looking at his conduct in

 22       filing the frivolous paper that he knew was frivolous

 23       and all those acts of concealment, that's not good

 24       faith.     Why would you go through such extraordinary

 25       steps to hide your income, to go literally across the
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   1      country using bank accounts to hide and conceal if you

   2      thought you were on the right side of the law?                 Why

   3      would you engage in all that concealment and all that

   4      hiding?     You wouldn't if you thought you were on the

   5      right side of the law.          But he knew what the law was

   6      and he was trying to hide from the law, and the

   7      extraordinary lengths he went to to hide shows you that

   8      his paper and all of his statements to the IRS were not

   9      genuine, honest searches for the truth, which is what

 10       the definition of "good faith" is as the Court will

 11       instruct you, but rather a demonstration that he knew

 12       exactly what he was doing, he knew what the law was and

 13       he intentionally violated it.

 14                 More evidence that his conduct was willful and

 15       not in good faith is the fact that he helped file false

 16       tax returns for his wife.           That's a fraud.       That's not

 17       good faith.

 18                 There's no evidence that he actually sought

 19       advice from attorneys or accountants.              If he really

 20       thought he was on the right side of the law concerning

 21       taxes, you'd think he would go and consult somebody

 22       about this, but he didn't because he knew what the

 23       answer would be.        How many times did the IRS tell him

 24       he could take appeals on any assessment, he can even go

 25       to Federal Court and argue his case, but he refused to
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   1      do so because he knew what the answer would be.                  He

   2      knew what the law was.          And we've talked about the IRS

   3      notices and warnings.         Multiple notices and warnings.

   4                Let's have that chart.

   5                This is just a demonstrative, a summary of all

   6      the notices that went into evidence, responses to his

   7      claims, notices and warnings from the IRS telling him

   8      what he already knew, that he had an obligation under

   9      the tax laws, an obligation to follow the law.                 Notice

 10       after notice, warning after warning telling him over

 11       and over and over that he needed to comply; telling him

 12       that he could be criminally prosecuted if he didn't;

 13       citing to him the statutes in some of these letters on

 14       where the legal duty to file can be found.                Notice

 15       after notice, warning after warning.              He ignored all

 16       these notices and continued to defy the law.

 17                 An example can be found at 60-D, an IRS response

 18       to him early on in 2002 telling him that the tax laws

 19       were passed by Congress, signed by the President,

 20       telling him and informing him of what he already knew.

 21       Telling him the role of the Internal Revenue Service,

 22       which is not to debate the tax laws but to enforce

 23       them.    Telling him that he could be prosecuted.

 24       Telling him that they cannot go on and on and engage in

 25       frivolous correspondence with him responding to all of
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   1      his frivolous requests, which he knew.               But the

   2      Defendant ignored this notice and all the warnings.

   3                On the issue of good faith and willfulness, the

   4      Court will also instruct you that good faith is a

   5      subjective standard, whether he actually held the

   6      belief.     But in determining whether he actually held

   7      any good faith beliefs, you may consider whether those

   8      beliefs are reasonable in determining whether he

   9      actually held them.         Were his claims reasonable?           His

 10       frivolous claims that the IRS only had jurisdiction in

 11       Puerto Rico, that he wasn't a United States citizen,

 12       his request of what type of tax do I owe when the forms

 13       and the notices that were sent to him told him what tax

 14       was at issue?       That wasn't reasonable, and it shows you

 15       that his true belief wasn't what he said in papers

 16       filed with the IRS.

 17                 And the Court will also instruct you that

 18       disagreement with the law is no justification, no

 19       defense.     It is the duty of everybody to obey the law

 20       no matter how strong that disagreement might be.                  Isn't

 21       that what this case is about?            A Defendant who over the

 22       course of a decade continually papered the IRS, refused

 23       to pay his taxes, said in papers that he was done

 24       paying taxes and he would never file again, simply

 25       disagreed with the law.          He knew what the law was.           He
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   1      simply disagreed with it.

   2                One final issue on willfulness with respect to

   3      Count II.      The Court will instruct you on willful

   4      blindness, and basically this instruction tells you

   5      that if the Defendant -- you may infer that the

   6      Defendant had knowledge of a duty if you find that the

   7      Defendant deliberately closed his eyes to a fact that

   8      otherwise would be obvious to him.

   9                Now, the Defendant wasn't blind to anything.                He

 10       knew exactly what he was doing.             But if he was blind at

 11       all, he was willfully blind.            The IRS sends him notices

 12       after notices, warnings after warnings telling him that

 13       he could be prosecuted, among other things.                He was

 14       deliberately blind to the truth.             He was told his

 15       avenues for appeal and to take his claims to Federal

 16       Court, but he refused to do so because he knew what the

 17       answer would be.        He was deliberately blind to the

 18       truth.

 19                 He refused to seek counsel and instead the

 20       accountants that you heard from at trial, Mr. Seidman

 21       and Mr. Harrigan, told him that what he was doing was

 22       wrong and warned him against his conduct.                He was

 23       deliberately blind to the truth.

 24                 So members of the jury, that's our case.                As he

 25       said in that document, 71-F, he hasn't filed since 1998
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   1      and he was never going to file again.              In his

   2      decade-long campaign to obstruct the IRS and to make

   3      good on that promise, the Defendant defied the law over

   4      many years; and for that, he must be held accountable.

   5                So after you consider the evidence, after you

   6      deliberate, we respectfully request that you return a

   7      guilty verdict on all counts.            Thank you.

   8                THE COURT:     Thank you, Mr. Kane.

   9                Ladies and gentlemen, we'll take a brief recess

 10       between the two closing arguments.             We'll have you back

 11       shortly.     Continue not to discuss this case amongst

 12       yourselves.       You'll get this case very shortly when

 13       you'll be allowed to discuss it.             So continue with my

 14       order not to discuss this case amongst yourselves until

 15       such time as I instruct you.

 16                 Could I see counsel at sidebar.

 17                 (The jury is not present for the following:)

 18                 (Sidebar conference off the record.)

 19                 (Recess.)

 20                 (The jury is present for the following:)

 21                 THE COURT:     Welcome back, ladies and gentlemen.

 22                 Mr. Fitzgerald.

 23                 MR. FITZGERALD:       Thank you, your Honor.

 24                 Okay.    Folks, I've got the -- we're going to try

 25       something new.       So I've got this on, and we'll make
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   1      sure it works.

   2                It's going to not surprise you that I have a

   3      little bit of a different take on what we've all

   4      listened to for the past two weeks.              I don't think that

   5      should surprise you any.

   6                During the eight days we've been here together

   7      with Judge McConnell, we've had a few light moments and

   8      some chuckles in between, but now it's more important

   9      than ever for you to focus.           I think you've done a good

 10       job during the whole trial, it seems that way anyways,

 11       but it's really important to focus now because what's

 12       going to happen next is you're going to get to do your

 13       hard work of deciding guilt or innocence in this case;

 14       and you're going to have to take all of the information

 15       that we've given to you into the jury room and make

 16       that decision.       And that's not a light decision.             I

 17       don't think you think it's a light decision, but I want

 18       to make sure you understand that it's a very, very

 19       important decision for Mr. Fall.             Okay?

 20                 We can't forget that this case is about

 21       Mr. Fall.      It's personal to him.         He's the man that's

 22       being tried.       He's the man that's charged with these

 23       crimes, and what we're doing here and the decisions

 24       that you make are going to affect him personally and I

 25       want to make sure that that's not lost in everything.
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   1      Okay?

   2                Ladies and gentlemen, the Government has

   3      presented you with a number of presumptions.                 Okay?

   4      They have presumed there's income in this case for

   5      different people.        They have presumed that there was

   6      interference by different people with different

   7      objectives.      They have presumed Mr. Fall's

   8      understanding of things.          They have presumed frivolity.

   9      They keep saying that there were frivolous filings.

 10                 They have a whole unit of the IRS, the frivolous

 11       tax unit.      Okay?    Do you remember Shauna Henline told

 12       you that the IRS decides what is frivolous.                Okay?     So

 13       the Government decides what's frivolous and what's not

 14       frivolous.      Okay?    They presume what is frivolous,

 15       what's beneath them, what they -- they don't need to

 16       address.     What's frivolous, what's unwise, what's

 17       foolish.     It's the IRS that makes the decision of what

 18       they think is foolish or unwise.

 19                 They presumed the origin of all these documents

 20       that you see, most of them.           Okay?    The documents that

 21       have been presented, we've seen on the screens.                  They

 22       presumed where those things have come from.

 23                 They presumed associations, all of these

 24       entities they say are associated with Mr. Fall.                  That's

 25       what the testimony was or what they had labeled it as
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   1      during the trial.        Today you heard these entities are

   2      tied to Mr. Fall.        So we've moved from just the

   3      presumption of association to he's tied to these, he

   4      created these.       It's a presumption.

   5                They presumed that information that's been

   6      provided you is solid evidence that you need to -- I'm

   7      sorry, solid evidence that will lead you to a

   8      particular factual determination beyond any doubt.

   9                But none of those presumptions that the

 10       Government is relying on, that the Government has put

 11       forward in front of you, none of those is more

 12       important than the presumption of innocence Mr. Fall

 13       has right now.       Okay?    And that carries with him all

 14       the way into the jury room until you make a decision.

 15       He's presumed innocent even if the Government -- I'm

 16       sorry.     The Government has made all these other

 17       presumptions.       They're not as important as that one.

 18                 The Government's case is only based on these

 19       presumptions, and they want to convict him on these

 20       presumptions.       Okay?    Now, they hope that you believe

 21       them and you believe their take on the evidence to push

 22       them over the line of reasonable doubt; but a

 23       presumption is like an assumption, it's not quite

 24       there.     They're presuming things.          They want you to

 25       presume what they have failed to prove.
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   1                Folks, the documents, they presume where those

   2      documents came from.         You heard from George Jaquez.

   3      George Jaquez finds this box on the second floor of

   4      Broad Street.       Okay?    George Jaquez found that box.

   5      George Jaquez files, the George Jaquez disk, the Jaquez

   6      disk, the Jaquez box.         That's what the Government keeps

   7      telling you.       It's the Jaquez box, it's the Jaquez

   8      folder.     And then they said the only person that had

   9      access to the room was Mr. Fall.             Well, that's not true

 10       because Mr. Jaquez had access to that room.                Okay?

 11                 Now, what were the items that were in the box

 12       and how they did they get there?             You don't know.

 13       George Jaquez didn't know.           They want you to presume

 14       because of the contents of the box that it's Mr. Fall's

 15       stuff and it came from Mr. Fall and he put it there.

 16       That's a presumption.

 17                 Agent Dickerman.       Agent Dickerman was the one

 18       who picked up the boxes from the garage at Wheeler

 19       Street.     He came in and said that he got all this

 20       stuff, this was all documents that Carmen Sanchez

 21       provided.      Okay?    And then when he testified, he

 22       testified to he didn't get them from Dr. Sanchez.                  They

 23       were in Dr. Sanchez's garage.            Dr. Sanchez wasn't

 24       there.     Never testified that he talked to Dr. Sanchez

 25       about those documents.          He got them from somebody else
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   1      that works for Dr. Sanchez, but they're in the garage.

   2      So he's presuming that these are the documents that

   3      trace back to Mr. Fall because he's presuming that they

   4      came from Dr. Sanchez when they did not.               You don't

   5      know where those documents came from.

   6                Ms. Henline, Shauna Henline testified to all the

   7      tax assessments, all these IRS documents.                You may not

   8      remember because they went over and over and over and

   9      all of us were -- I was nodding.             Okay?    They went all

 10       through and she said, Yes, these are all IRS documents.

 11       She said they were IRS documents because they look like

 12       IRS documents, and she knows what IRS documents look

 13       like.    Okay?     But hopefully, you were awake for the

 14       very end of her testimony when she told us that those

 15       documents didn't come from the IRS.              Those documents

 16       went to her to check, and they came from the

 17       Government.      I know the IRS and the Government is the

 18       same thing but two separate places.              She didn't go back

 19       to the computer and print those out.              She didn't go

 20       back to the IRS computer and read them or double check

 21       them.    She got those documents from someplace else, and

 22       the Government wants you to presume that those are the

 23       actual documents from the IRS.

 24                 Those presumptions, the Government is asking you

 25       to just presume this last link in how those documents
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   1      got from A to B should not be enough for you.                 It

   2      should not be enough.         Fill the links.        Fill the line.

   3      The documents went from A to B to C.              Okay?    Why didn't

   4      the Government do that?          There's no excuse for them not

   5      to complete that line.          Okay?    Because there's no

   6      excuse and they certainly had lots of opportunity to do

   7      it, you shouldn't be satisfied with a presumption that

   8      they came from a particular place.

   9                Okay.    Ms. Henline also testified that Mr. Fall

 10       was adequately put on notice of his responsibilities to

 11       file taxes, to pay taxes based on the letters that were

 12       sent to him.       Okay?    Remember those letters a little

 13       bit.    I think you saw one during the closing.

 14                 Now, you saw this during the evidence.              Okay?

 15       The screens are all up?          Thank you.

 16                 This was a letter from Mr. Fall in 2002 to the

 17       IRS.    I'm not going to go and underline it for you, but

 18       this is the one where he asked about his tax liability.

 19       This is back in 2002, back to the very beginning of all

 20       of this.     Okay?     He asked about his tax liability.

 21       Right in Section 1 -- I will point it out for you.

 22       "Tell me what the tax liability is, please."                 Okay?

 23                 Now, the response to this letter is this one in

 24       January of 2003.        I believe that's four months later.

 25       So four months later he gets a response.               What does it
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   1      say?    Tax laws are constitutional.           The question he

   2      asked at the beginning was, What's my tax liability?

   3      The answer he got is tax laws are constitutional.                  Now

   4      we know why he got this letter that says tax laws are

   5      constitutional, because this letter came from a

   6      computer.      Somebody decided that this letter was

   7      frivolous, stuck it in a "frivolous" folder, hit a

   8      button, print, and that's what we get, a letter back,

   9      non-responsive, tax laws are constitutional.                 But

 10       Ms. Henline says that he was properly on notice and

 11       adequately informed of his responsibilities.                 She said

 12       that he was adequately informed of his responsibilities

 13       because on the -- I believe it was the notice of

 14       deficiency -- the deficiency notice came later.

 15                 And the deficiency notice would have told him

 16       what his tax liability was.           This is the Government's

 17       chart, the big chart that was over here a little while

 18       ago.    Notice of tax deficiency came two-and-a-half

 19       years later.       So he was adequately on notice

 20       essentially three years after he asked the question,

 21       but a whole lot of stuff happened in between.

 22                 Now, the Government describes Mr. Fall as hiding

 23       and harassing.       Okay?    But when you ask a simple

 24       question and not only do you not get responses you get

 25       notices of tax deficiency, harassment can be a two-way
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   1      street.     Okay?    If you were receiving those kind of

   2      letters, you might feel harassed, too.

   3                Now, they also said that he was on notice or

   4      should have been on notice because he didn't seek out

   5      any legal advice or he didn't seek out any accounting

   6      advice.     All right?      You don't have any evidence that

   7      he sought out advice from lawyers and accountants or

   8      that he did not.        That's not in evidence.          Okay?    You

   9      don't know what he did.          We don't know what he did.

 10       Okay?     For them to hang their hat on saying, well, he

 11       had the opportunity or he should have or he could have

 12       or he did, you don't know if he did or he didn't.                  All

 13       we have are these letters going back and forth.                  Okay?

 14                 All right.     The Government presumes that the

 15       Defendant created and controlled and managed all of

 16       these different entities.           They had the nice chart

 17       there with all these different entities.               How many

 18       documents have you seen that he created an entity?                   I

 19       think it's two.        They both lead back to Revenue

 20       Management Services.         None of the rest of them has been

 21       substantiated based on a document or anything else

 22       here.     What they want you to do is presume, based on

 23       all of these other documents that they got third hand

 24       that he created these things and he controlled these

 25       things.
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   1                Now, you can say that actually there was other

   2      evidence that Carmen Sanchez told us he created all

   3      these things.       And we'll deal with Dr. Sanchez in a

   4      second, but they haven't shown you any other evidence

   5      that he created these different entities.

   6                Folks, the Government told you in their closing

   7      that Dr. Sanchez was credible in her testimony.                  She

   8      was not credible in her testimony.             I think I told you

   9      at the beginning I'm going to have a different take on

 10       things than they are.         Well, that's a big one.          That's

 11       a huge difference of opinion on her credibility, and

 12       I'll start with the part that I think should make it

 13       easiest for you all to accept.

 14                 We had Cielito Deayala testify.            She was the

 15       former office manager.          I believe she said that, you

 16       know, she started working there with Dr. Sanchez.                  When

 17       she first started working there, it was her and

 18       Dr. Sanchez and one other person.             Just three people in

 19       the office.      Nice, cozy little office.           Obviously, you

 20       know each other, you get along, talk to each other

 21       every day.      Okay?    There's nothing to -- there was no

 22       evidence presented that Ms. Deayala had any ax to grind

 23       in this case.       She had no ill will towards anybody.

 24       There's no evidence that she said anything to you that

 25       wasn't accurate or true.          Okay?
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   1                She told you that she gets the bills, she gives

   2      directions, she gets the checks, she brings them back

   3      to Carmen, Carmen signs the checks and they get mailed.

   4      There's no reason not to believe her that that happened

   5      and that's the way it happened.

   6                She told you that she didn't have access to the

   7      accounts.      She didn't have control over those accounts.

   8      It was all Carmen.

   9                Now, the next day -- and I'm sorry, because the

 10       trial's been so long I can't remember the timing here.

 11       Might have been Monday morning when Dr. Sanchez came

 12       back and we talked to her about that, about the signing

 13       of the checks.       She kept saying that, No, there was a

 14       stamp, that sometimes Cielito would stamp the checks

 15       and send them out.        Okay?     That's just a lie.        There is

 16       no stamp.      We looked at checks.         You looked at checks.

 17       You looked at dozens, if not over a hundred of checks

 18       with Carmen Sanchez's signature on them.               Not one

 19       stamp.     Okay?    It's just plain -- it's just a plain

 20       lie.

 21                 When Carmen talked about Cielito when she was

 22       testifying about her and about her place in the office,

 23       I don't know if you caught this, but she never referred

 24       to her as Cielito.        She never referred to her as

 25       Ms. Deayala.       She always said the office manager, the
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   1      office manager, the office manager.              Okay?     There's

   2      something wrong there.          There's a disconnect.         When you

   3      work with somebody that closely when you're in that

   4      tight-knit little office just the three of you, and

   5      then the office expands, yes, but it always goes back

   6      to those were the folks who were there at the

   7      beginning.      Those were the folks you bonded with.                And

   8      she testifies "the office manager" like Cielito doesn't

   9      exist anymore.       She's not a person.

 10                 Well, she is a person, and she testified.                 And

 11       she testified different from Carmen.              She testified

 12       truthfully, and Carmen did not.             That's the best

 13       example I can give you of why you shouldn't believe

 14       what Carmen said.

 15                 Now, Carmen was very smart, very educated, very

 16       ambitious.      Okay?    She absolutely knew what she wanted

 17       to do.     There should be no question.           She went to

 18       dental school, got out, became a dentist, started

 19       practicing, saw a need in the community.                 Those were

 20       her words, she saw a need in the community and opened

 21       up Comfort Dental and it expanded and blossomed.

 22                 She bought the building at 1482 Broad Street.

 23       Bought the building.         Formed her own corporation or

 24       entity that managed that building, Broad Street

 25       Investments.       She's a smart business woman.            Okay?
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   1      She's not a dummy.        All right?      She knows what's going

   2      on.     But what did she tell you?          "I don't know

   3      anything.      John doesn't have any part in our office.               I

   4      would just sign things because he told me to."

   5                Those two things don't add up.            As the smart

   6      business woman, as the one who is trying to expand her

   7      practice and make money and just become successful,

   8      she's not also turning a blind eye to what Mr. Fall is

   9      doing.     That just doesn't make any sense.             That's not

 10       credible, and you shouldn't credit her testimony for

 11       that.

 12                 She is in charge of Comfort Dental.             All right?

 13       She hires and fires.         She has that authority.          She told

 14       you she's in charge of advertising.              She decides where

 15       they get supplies.        She doesn't do the bills.           She

 16       delegates that authority to the office manager.                  She

 17       probably doesn't clean teeth.            I'm sure she delegates

 18       that to the dental hygienist.            She delegates lots of

 19       different things.        She delegates collecting the rent to

 20       her uncle, Mr. Jaquez.          But there shouldn't be any

 21       question in your mind she's in charge.               She owns

 22       Comfort Dental; she's in charge of Comfort Dental.

 23                 Folks, she delegated a number of

 24       responsibilities to a number of people that worked for

 25       her.     She testified to you that she did not delegate
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   1      any part of that to Mr. Fall.            She told you that she

   2      was the one that made sure that the documents got to

   3      the CPAs for taxes.         She made sure that all that

   4      information was done.         She signed the checks.

   5                Let me take a step back because there's

   6      something else you need to know about Carmen.                 After

   7      this is all over, you know, Carmen came in here on an

   8      immunity agreement.         She wasn't going to testify, but

   9      they said if you testify and if you testify truthfully,

 10       we won't charge you.         That's how she ended up on the

 11       stand.

 12                 At the end of this, she pays off the IRS.               She

 13       still owns the two practices now.             She owns the house

 14       on Wheeler Street.        She owns or has a part of the

 15       property in the Dominican Republic.              She has Broad

 16       Street Investments.         Okay?    She owns a lot of stuff.

 17       And if you want to go through all the papers, you can

 18       see that Comfort Dental is doing more than 2 million a

 19       year I think if you look at their taxes that have been

 20       filed recently that are in there.             She's very

 21       successful.      She's very well-to-do.

 22                 And on top of that, she's divorced from Mr. Fall

 23       and she has the kids.         So she's got everything.           She's

 24       got everything here.

 25                 So she has all that.         She comes in here to
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   1      testify because of the immunity order and she gets on

   2      the stand.      What does she do?        She doesn't take any

   3      responsibility for any of this.             Zero.    She delegates

   4      the responsibility of this.            Cielito stamped checks.         I

   5      think the last thing she said was, It's all John's

   6      fault.     All of it.      Not hers.     All John's fault.

   7                Now, folks, her testimony, her version is the

   8      main support for the Government saying that John Fall

   9      created all these entities, that he was associated with

 10       all these entities, that he is tied to all these

 11       entities.      Okay?    She is not credible.         You shouldn't

 12       believe her; and if you can't believe her, then we're

 13       left with their presumptions.

 14                 Now, Agent Pleshaw testified and same thing.                He

 15       presumed these assumptions.            He presumed these

 16       associations.       If you remember, on all of the different

 17       summaries he had with him, associated with Fall,

 18       associated with Fall.         And I asked, What does that

 19       mean?    And he said, Well, the evidence is that he's

 20       associated with all these different entities.

 21                 What he thinks the evidence is, what I think the

 22       evidence is, the prosecution thinks the evidence is, is

 23       not what the evidence is.           It's what you think the

 24       evidence is.       Okay?    So they want you to presume the

 25       evidence is that he's associated with all these people
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   1      and today tied with all these entities.               Okay?    What

   2      you have is presumptions.           You don't have enough to

   3      show that he's tied to these entities, he created them,

   4      that he managed them.

   5                Folks, the other -- and I think this is almost

   6      more important.         The other presumption I haven't talked

   7      about yet is the presumption that the Government seems

   8      to think that the rest of us are a little dim.                 Okay?

   9      That we're not so up on top of, or watching what's

 10       going on here.         And I think that we start with this

 11       slide here.      Okay?     It's on the ELMO.       This is the --

 12       if you remember, this is the slide that shows nothing.

 13       It shows nothing.         I tried to make it go away, but it's

 14       still here.      And it still shows nothing.

 15                 I asked Agent Pleshaw and eventually he agreed

 16       with me that it doesn't show anything.               Okay?    The $2.1

 17       million, that is, as they said, the total amount of all

 18       the money that went through all these different

 19       accounts.      And finally he did tell you, he admitted

 20       that it includes money that was transferred between the

 21       accounts.      Okay?     So if that's the case, what's the

 22       reason for the $2.1 million?            It's not relevant to

 23       anything here.         Mr. Fall didn't put $2.1 million in his

 24       pocket.     Carmen Sanchez didn't put $2.1 million in his

 25       pocket.     Didn't show up on a tax return anywhere.               It
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   1      is -- it's a slide that shows nothing, folks.

   2                So what's the purpose of putting that total on

   3      there?     I'd suggest it's to mislead you.            Okay?     It's

   4      deceptive.      It's misleading.        It's misleading.       I can't

   5      put it any nicer than that.           Okay?    Why put it on there

   6      unless you want to pump up your case, the Government

   7      does, and show you, the jury, wow, there's a lot of

   8      money here, you better pay attention.              This guy is a

   9      bad guy.     There's a lot of money here.

 10                 And just so you understand the whole transfer of

 11       money back and forth, Stratford Management, I know you

 12       may not be able to remember one account from the next

 13       account, Stratford Management was one of these accounts

 14       that Broad Street Investments was -- I'm sorry, that

 15       Comfort Dental was sending money to for rent and then

 16       Stratford Management was sending it back to Broad

 17       Street Investments.         Okay?    Now, the rent for Comfort

 18       Dental was $4,500 a month.           That $4,500 went from

 19       Comfort Dental to Stratford, and then from Stratford

 20       back to Broad Street.         So that single $4,500 became

 21       $9,000 here.        It doubles because it was transferred

 22       twice.     Okay?

 23                 Stratford Management, the identified

 24       withdrawals, the figure 139,500, that's my handwriting,

 25       by the way.        That's the total of all the money that
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   1      went back to Broad Street Investments.               Okay?     If

   2      that's the money that went to Broad Street Investments,

   3      that means that it went to Stratford first.                  So that

   4      means there's $280,000, okay, in that slide that shows

   5      nothing.     Okay?     That should give you an idea of the

   6      level of double counting in this case.               Okay?     It's

   7      deceptive.      It's misleading.

   8                More evidence that the Government thinks we're

   9      not so quick, the fact sheets.            They're fact sheets.

 10       They show facts.        Okay?     That's true.     They do show

 11       facts.     They show facts about these particular

 12       accounts.      All right?       The question is are they facts

 13       that matter in this case?           Are they facts that are

 14       relevant to this case?          Are they facts that are going

 15       to help you decide what's going on?              All right.

 16                 So for Avigon, this particular Avigon account,

 17       it says $4.1 million went through there.               That's great.

 18       This is a warehouse account.            More than one agent told

 19       you a warehouse account is where a whole bunch of

 20       people put money into.          Okay?    The $4.1 million that's

 21       on here, on this fact sheet has nothing to do with this

 22       case.    You can't look at the $4.1 million and say, Oh,

 23       that has to do with Mr. Fall because of X.                It doesn't.

 24       It's another big number.           It's another big number the

 25       Government stuck under your nose to say, Hey, look,
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   1      this guy is really bad.          Look at all this money.            Okay?

   2      It's misleading.

   3                But they didn't do it once.            Here's the fact

   4      sheet of Accurate Bookkeeping, $2.5 million.                 There's

   5      the fact sheet of Olympic Business Systems, $6.7

   6      million.     Not the money from this case.

   7                You can go through all these documents all you

   8      want, and Agent Pleshaw already did, and I don't think

   9      he could tell you how much of that was involved in this

 10       case.    Okay?     So what's the purpose of showing you this

 11       to begin with?       Why did the Government put it into

 12       evidence?      It's ugly.     It makes Mr. Fall look bad.             He

 13       didn't have anything to do with $6.7 million.                 All

 14       right?     But they want you to take that on, attribute

 15       that big number to him so that they can support their

 16       presumption.       They're fact sheets, but they're not so

 17       relevant fact sheets.

 18                 Now, it's interesting the Government had said,

 19       you know, Who banks this way?            Okay.    They said nobody

 20       banks this way.        We know that's not true because things

 21       that they put in evidence was there's a whole bunch of

 22       people in these warehouse banks.             There's lots of

 23       people that bank this way.           Whether you think it's

 24       legitimate or not legitimate, it's not nobody.                 There's

 25       a whole bunch of people that bank this way.                It's a
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   1      warehouse bank.        It's not Mr. Fall's bank.          It's a

   2      warehouse bank.

   3                Okay.    Bear with me here while I, unfortunately,

   4      try to just pound this point, please.                The title of

   5      this slide, and this was presented to you during the

   6      Government's closing is "The Disposition of Funds Paid

   7      by Comfort Dental to JV Services."             Okay?     That sounds

   8      like it's pretty straightforward.             But when Agent

   9      Pleshaw testified, you remember that there's no

 10       relationship between the 149 -- I'm sorry, the 142,000

 11       on the left and the money going out on the right other

 12       than one happened before the other.

 13                 So when the Government says this is the

 14       disposition -- this right here is the absolute

 15       disposition of those funds, to me that means I took the

 16       paper from here and I put it here and then I moved it

 17       over here.      That's not what happened.            In the middle of

 18       all this, JV Services has money.             Okay?     I don't know

 19       how much money.        It had whatever money they had plus

 20       $142,000.      So to say that the money on the right is the

 21       disposition of those funds is not accurate.                It's not

 22       correct.     It's misleading.

 23                 Transfers of money for the sale of 35 Forbes

 24       Street.     The money on the right is not the same as the

 25       money on the left.        Okay?     The proceeds from the sale
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   1      of Forbes Street according to this is $162,000.

   2      There's no link that goes from Point A to Point B to

   3      Point C.     The money that goes to Avigon in these three

   4      different accounts is not the same money that went in

   5      to Washington Allocation originally.              They're saying

   6      this is to transfer money.           It's not.     It's different

   7      money.     Maybe some of it is the same money, but it's

   8      not what they're saying it is.            It's misleading.

   9                Transfer of money from 37 Sagamore Street.               I

 10       don't think anybody remembers 37 Sagamore Street coming

 11       into evidence.       Okay?    I don't.      It's in there.       It's

 12       in the papers.       Okay?    It's in the papers that have

 13       been generated in this case, this mountain of papers.

 14       Okay?    The papers in these boxes that are over here in

 15       the back, the papers that are in the binders up next to

 16       the Judge, it's in there, 37 Sagamore Street.                 Okay?

 17       But for them to say that this money is this money is

 18       just misleading.        They can't say that.         It's not true.

 19                 Last one, folks, on these.          Okay?     At some point

 20       in 2002, $437,000 went into Stratford Management and

 21       then some point later $155,000 went from there to

 22       Office Services.        The two dollar figures have nothing

 23       to do with each other.          Nothing to do with each other.

 24       You can't say that that money is the money that's down

 25       the line.      It's not.     It's different.
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   1                Folks, during the closing today, the Government

   2      talked about, you know, who banks this way.                We talked

   3      about that a little bit already.             They continued to say

   4      that Mr. Fall is tied to these entities, that he

   5      created these entities.          They don't have proof of that.

   6      It's their presumption.          There's innuendo.        There's

   7      these e-mails.       Okay?    There's these letters that they

   8      say came from him, but they don't -- they can't even

   9      tell you where the documents came from, for sure.                   The

 10       documents they came up with, the documents they came

 11       across during the investigation but they can't tell you

 12       whether the actual origin of them was Mr. Fall.

 13                 Folks, what the Government really wants to do

 14       here, at least in part, is -- I'll try not to be too

 15       presumptuous.       Okay?    But I'll tell you this.          The

 16       Government has not given you proof beyond a reasonable

 17       doubt.     What they've given you is a series of

 18       presumptions and that they hope that you take those

 19       presumptions and push it over the line.               What did we

 20       say?     There's a mountain of paper, a ton of paper in

 21       all this.      It's not a ton of evidence.           It's not a

 22       mountain of evidence.         It's a ton of paper.         Okay?     And

 23       there's a difference.

 24                 One of the things that you should be wondering

 25       about in all of this is, you know, where did all this
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   1      money go?      Okay?    Where did all this money go?            I like

   2      the Government saying that Mr. Fall made extensive use

   3      of cash, made extensive use of cash.                If you think not

   4      so hard because it's pretty obvious there was one

   5      incident with an envelope that had cash sticking out of

   6      it.    That was the evidence.         There were other envelopes

   7      that we don't know what was in them.                So the extensive

   8      use of cash?       The evidence isn't there.           The

   9      insinuation is there.         The innuendo is there.           The

 10       presumption is there, but not the evidence.                  Not the

 11       facts and that's, frankly, another thing that Carmen

 12       Sanchez wasn't so forthcoming about.

 13                 So where is all the money?          Where is all the

 14       cash, if you will?        I don't know.       It's not my job to

 15       tell you, but you should wonder.             It should be a

 16       question.      It should be a question that leads you to

 17       some doubt.      What happened to all this money?              Okay?

 18                 Ultimately, folks, the determination you have to

 19       go make now is a difficult one, but it's not a

 20       determination of maybe or possibly or probably.                  It's

 21       not I think so.        The standard is beyond a reasonable

 22       doubt.     The Judge is going to tell you what that means,

 23       but I'd suggest that if you're speculating or you're

 24       not sure or all you have is the Government's

 25       presumptions, you're not there.             Okay?     You're not
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   1      there.     And the Government hasn't met its burden.                 They

   2      haven't.     They've made a lot of presumptions.              They've

   3      given you a lot of show and a lot of documents, a lot

   4      of paper, but they haven't given you a lot of evidence.

   5                I want to leave you with two thoughts.              Two

   6      thoughts.      The first is relatively short.            When I sit

   7      down, the Government is going to be able to come back

   8      up and talk to you for a few minutes giving their

   9      commentary on my presentation which I took advantage of

 10       for the Government.         I just ask that when the

 11       Government addresses some of the points that I've made

 12       that you also consider in your mind the context in

 13       which I made them and the point that I was making.

 14       That's the first thing.

 15                 The second thing is last night I went to a

 16       concert.     I went to a band concert.           Okay?    And it was

 17       my daughter's school band.           Okay?    And it was just

 18       wonderful.      Just wonderful.       They were great.        They

 19       were very, very impressive and it was just great to

 20       listen to and everything else.            Well, you know, I can

 21       tell you that because I'm a proud parent, okay, and I

 22       like my daughter.        It was the 5th grade band concert,

 23       their first concert.         And I'm sure if any of you were

 24       there, what you would have heard was a lot of squeaks,

 25       a lot of missed notes, a lot of flat, a lot of sharp
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   1      when there shouldn't have been.             Okay?    Your perception

   2      of it would have been a little bit different from mine.

   3      Okay?    But I'm going to tell everybody it's wonderful,

   4      because it's my daughter and I love my daughter.                  And

   5      she tries hard on the clarinet, which is not a joy to

   6      listen to practice, I will tell you, but she's my

   7      daughter.      That's why I latched on to that concert.

   8      That's why I tell you it was great.

   9                I tell you that the Government has asked you to

 10       latch on to all of these presumptions, okay, and why.

 11       Well, just like my daughter's concert, okay, they are

 12       attached to this case.          All right?     It's their case.         I

 13       don't know if they love this case, but it's their case.

 14       They own it.       Okay?    If there's any question in your

 15       mind on that, look at all the agents here.                Okay?    Look

 16       at all the agents here, all the people that have come

 17       and testified, all the Government agents.                There should

 18       be no question in your mind that this is their case,

 19       they own it, they love it, and they're invested in it.

 20       They're invested in it.

 21                 So what you have is presumptions.             Okay?

 22       Presumptions are not enough for reasonable doubt.

 23       That's what you should find.            But that they're invested

 24       in it; they love it.         They want you to help kick it

 25       over the line to beyond a reasonable doubt.
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   1                Folks, just having a mountain of papers isn't

   2      enough to do that.        I'd ask you to consider what I've

   3      said and come back with a not guilty finding.                 Thank

   4      you.

   5                THE COURT:     Thank you, Mr. Fitzgerald.

   6                Mr. Kane.

   7                Mr. Fitzgerald, make sure you shut the mike off.

   8                MR. FITZGERALD:       Thank you.      I forgot.

   9                MR. KANE:     Thank you, your Honor.

 10                 To begin, counsel talks about the Government's

 11       case built on presumptions.           Two weeks of trial,

 12       multiple witnesses, a lot of proof, yes, a lot of

 13       documents but from multiple sources, multiple proof,

 14       multiple corroborating evidence proving this

 15       Defendant's guilt beyond a reasonable doubt.                 The

 16       Government's case was hardly built on presumptions.

 17                 Let me work backward on a couple of points.

 18       Counsel had mentioned toward the end of his

 19       presentation that where's the money, where did all the

 20       money get?      Members of the jury, that's the point

 21       especially with respect to Count I.              The Defendant

 22       obstructed the IRS's ability to even determine where

 23       all this money went.         We may never know.        His success

 24       in hiding his money through multiple layers of

 25       concealment is not a defense.            It's proof of the
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   1      charge.

   2                Let's have some of these fact sheets that he

   3      highlighted.       And if I can have 408-A.

   4                Counsel tried to attack the credibility of

   5      several of the Government's summary exhibits.                 And this

   6      was one of them, 408-A, a fact sheet with respect to

   7      one warehouse account, suggesting that the Government

   8      was somehow suggesting that the $4 million was John

   9      Fall's or associated or John Fall's income.                Just the

 10       opposite.      During the examination of Michael Pleshaw,

 11       the Government made the point that these are warehouse

 12       bank accounts.       It's not all of the Defendant's money.

 13       His money was thrown in with everybody else's money in

 14       an effort to conceal.         That's the point.        It most

 15       definitely isn't all his money.             But by putting his

 16       money in with a lot of other people's money, it made

 17       his money much more difficult to trace.

 18                 If you look at the exhibits right after this

 19       summary, you will see that with respect to each of

 20       these accounts Michael Pleshaw identified those of

 21       Mr. Fall's, showing you exactly what he was able to

 22       find in terms of his particular payments.

 23                 426-B, another summary that counsel has come

 24       back to.     During the direct examination of Michael

 25       Pleshaw, it was elicited that these are not his income.
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   1      There's no way to determine whether all these transfers

   2      are his income because they're co-mingled in different

   3      people's accounts and different warehouse accounts.

   4      This demonstrative is to show the level of concealment.

   5      Every transfer, every deposit that the Defendant

   6      engaged in is a measure of his obstruction because all

   7      of these accounts were nominee accounts strewn all over

   8      the country.       As Michael Pleshaw testified on direct

   9      and cross and redirect, it may be impossible to ever

 10       find out how much this Defendant actually earned.                  But

 11       we know in statements in insurance applications in his

 12       internal documents on those George Jaquez disks that he

 13       made money and by his own admission at least for a few

 14       years over $100,000.

 15                 Let's talk about Carmen Sanchez, and let's pull

 16       up 287-C.

 17                 First, going to the Count III and IV, the aiding

 18       and assisting counts, Defendant Fall has been charged

 19       with aiding and assisting in the false corporate

 20       returns.     The Court will instruct you it does not

 21       matter, and you should not consider, whether somebody

 22       else, and in particular Carmen Sanchez, knew or did not

 23       know of the falsity on the return.             You shouldn't

 24       consider whether anybody else other than Mr. Fall knew

 25       about the falsity.        Did she know?       She may have known.
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   1      Her testimony was fairly credible.             But did she turn a

   2      blind eye?      She might have.       But to suggest that she

   3      was the mastermind behind all of this?               The evidence

   4      was that she had office managers.             She was a dentist.

   5      She ran the dentistry.          She did her advertising.          And

   6      the way it worked as demonstrated in this exhibit,

   7      which is just an example, John Fall injected himself

   8      with respect to these false payments.              He had direct

   9      contact with Cielito Deayala.            He directed the payments

 10       out of these accounts, out of the corporate accounts

 11       for Comfort Dental, the checks were given from Cielito

 12       to Carmen to sign.

 13                 Now, did Carmen know what was going on?               Maybe

 14       she did.     You can think about that, but the Court is

 15       going to instruct you it's not relevant to the charges.

 16       It is relevant to her credibility, but the Government

 17       hasn't presented this case based on Carmen Sanchez's

 18       testimony alone.        We presented evidence from bank

 19       accounts and multiple witnesses.             Her testimony was

 20       corroborated by those other sources.

 21                 Counsel suggests that the Government's case is

 22       essentially built on Carmen Sanchez's testimony, and

 23       that's just not true and I think, members of the jury,

 24       you know that.

 25                 Counsel talks about the presumption of income,
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   1      that there must be income in this case.               Well, he

   2      hasn't addressed Count II, tax due and owing by

   3      Mr. Fall for the 1998, 1999 and 2000 tax years.                  He did

   4      have income those years, and he did have a tax due and

   5      owing which he evaded from 2005 to 2010.

   6                The obstruction count doesn't require the proof

   7      of income.      In fact, the point of Count I is he made it

   8      difficult to determine.          That was his whole goal, and

   9      he was successful in doing that through his multiple

 10       layers of concealment.          There's no presumption of

 11       income with respect to the corporate returns.                 That has

 12       nothing to do with unreported income.              It's the false

 13       expenses that appeared on those returns.               And he didn't

 14       dispute that they were, in fact, false because they

 15       were false.

 16                 He said that there was a presumption that

 17       Mr. Fall is connected to these entities.               There's no

 18       presumption that he's connected to these entities.

 19       It's not just the George Jaquez disks, which we'll talk

 20       about in a moment, but it's the bank accounts, for

 21       example, the NERH bank account that he opened up at

 22       Fidelity using his own name showing his direct tie to

 23       that particular entity.          It's the seized evidence from

 24       Melissa Sugar out in Colorado where John Fall listing

 25       his Ohio address is tied to almost all of these
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   1      entities, or a good chunk of them, at least eight, I

   2      think.     And then, of course, there is those documents,

   3      the cheat sheet, the stamps and the George Jaquez disks

   4      found in that room.         George Jaquez testified in no

   5      uncertain terms that only he and John Fall had access

   6      to that room.       George Jaquez obviously was not behind

   7      all of this.       The only person who had access that is

   8      relevant is John Fall, and he was clear it was John

   9      Fall's stuff because only he had access to it.                 And you

 10       know that it was his stuff because if you look at the

 11       documents taken off the disks, they're

 12       self-identifying.        It's John Fall's correspondence.

 13       It's his authorship.         It's his research on how to hide

 14       and create entities and aliases.             It's his research on

 15       the super-secret state, Nevada, where he can have a low

 16       profile.

 17                 So there's no question that the cheat sheet and

 18       the paper coming off those disks was John Fall's not

 19       only based on that evidence but the corroborating

 20       evidence.      The corroborating evidence of his anti-tax

 21       views and papers that he filed with the IRS, his

 22       refusal to pay over the better part of a decade.

 23                 Counsel made a point that the IRS should have

 24       responded sooner to some of his paper, and they didn't

 25       tell him what his tax liability was and he just wanted
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   1      to know what his tax liability was.              Take a look at

   2      some of the papers.         He was claiming he didn't know the

   3      type of tax.       He was just creating frivolous paper.

   4      And if you look at Exhibit 16 and its subparts, as well

   5      as 17, you'll see the chronology of correspondence back

   6      and forth between the IRS and the Defendant, and you

   7      will see that the IRS told him repeatedly 1040 income

   8      tax, that's what we're talking about.              In addition,

   9      they gave him a notice of proposed assessment telling

 10       him this is how much you owe.            Do you have any changes?

 11       Should it be different?          Then there was a notice of

 12       deficiency.      If he disagreed with that, he can go to

 13       tax court; he can go to appeal to the IRS.                He was told

 14       what his tax liability was repeatedly.               And you'll find

 15       that if you need to in Exhibits 16-A through K, I

 16       believe, and the subparts to Exhibit 17.

 17                 That the source of documents is presumed, we had

 18       multiple sources of documents, as you know, bank

 19       records, documents from banks, seized records not only

 20       from Colorado but from the State of Washington where

 21       the Defendant was using various nominees including

 22       Wainright Associates, which also appears on his cheat

 23       sheet.

 24                 Counsel talked about Shauna Henline.              Is the

 25       Defendant seriously suggesting that the tax records are
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   1      not authentic records?          Shauna Henline testified she's

   2      got 27 years in at the IRS.           We took her through the

   3      computer records from the IRS that printed out his

   4      transcripts.       There's no dispute as to the authenticity

   5      of those records.        If you look at the records, they

   6      have a blue sheet on the front of them with a seal.

   7      They're authentic certified records of the Treasury.

   8      She testified that she recognized those records, that

   9      the records are authentic, that they're kept in the

 10       normal course of business, that they're the regular

 11       practice of the IRS to make those records.                And those

 12       records, of course, are corroborated by all the other

 13       evidence in the case including the correspondence

 14       between the IRS and the Defendant.

 15                 It's corroborated by the Defendant's own

 16       research on the George Jaquez disks in which he says,

 17       "I'll never pay taxes again."

 18                 So to dispute the authenticity of the IRS

 19       records is just without merit.

 20                 Counsel took issue with the Government's

 21       argument that the Defendant never sought legal advice

 22       or accountants' advice.          There's no evidence that he

 23       did.    Quite the opposite.         He kept pounding away at the

 24       IRS no matter how many warnings he got to go seek

 25       advice and to stop what he was doing.              But there was
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   1      evidence that he got advice from accountants, from

   2      David Seidman who told him people are -- in Danbury are

   3      full of people like him who refuse to follow the law.

   4      He was told by Bill Harrigan, he was pressuring Bill

   5      Harrigan, CPA Bill Harrigan with at least two decades

   6      of experience being an accountant, pressuring Bill

   7      Harrigan to do what he was doing, papering the IRS.

   8      Bill Harrigan said, "We're not doing that."                You would

   9      think that the Defendant would listen to Bill Harrigan

 10       on that, but he refused to do so.

 11                 So members of the jury, at the end of the day,

 12       the Government's case is not -- it's not built on

 13       presumptions.       It's built on proof that shows you

 14       beyond a reasonable doubt that this Defendant committed

 15       tax fraud for more than a decade, that he did it in

 16       multiple ways.       He not only concealed his own income,

 17       but he also falsified the returns of his wife.                 He

 18       obstructed audits.        He filed frivolous paper with the

 19       IRS to try to stop audits.           He told his wife not to

 20       show up at a summons.         He filed false documents with

 21       the Federal Court in Massachusetts denying his

 22       ownership and control over NERH.             The proof came from

 23       multiple sources, multiple witnesses over two weeks.

 24                 So in light of that evidence, we again

 25       respectfully request that after you consider all of it
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   1      and deliberate that you return a verdict of guilty on

   2      all counts.      Thank you.

   3                THE COURT:     Thanks, Mr. Kane.

   4                Ladies and gentlemen, we'll take a mid-afternoon

   5      break.     We'll see you back in 15 minutes.

   6                Could I see counsel.

   7                (The jury is not present for the following:)

   8                (Sidebar off the record.)

   9                (Recess.)

 10                 (The jury is present for the following:)

 11                 THE COURT:     Ladies and gentlemen, you have now

 12       heard all the evidence.          You've now heard the arguments

 13       of all counsel.        Now it is my obligation and I,

 14       therefore, do instruct you on what law it is for you to

 15       apply.

 16                 Ladies and gentlemen, you can put down your

 17       notebooks and put down your pens because I'm going to

 18       give you a copy of the jury instructions for your use.

 19       And not all judges do that, but I tend to find it

 20       helpful.     Realize that the instructions as I give you

 21       orally now are the instructions that you are to follow.

 22       I'll give you a courtesy copy of the instructions for

 23       your use in the jury deliberation room.

 24                 Ladies and gentlemen, you are the triers of the

 25       facts.     You alone must determine what the facts are in
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   1      this particular case.         It's my duty to instruct you on

   2      the law applicable to this case.

   3                You must consider these instructions as a whole.

   4      You should not choose one part and disregard another.

   5      You must accept and apply the law as I give it to you

   6      in its entirety, and this is true whether you

   7      personally agree with the law or not.              It would be a

   8      violation of your oath you took as jurors to base a

   9      decision on any version of the law other than that

 10       contained in my instructions, just as it would be a

 11       violation of that oath to return a decision upon

 12       anything but the evidence in this case.               It is not up

 13       to you to decide what the law is or what it should be.

 14       Your duty is to apply the law as I explain it to you.

 15                 As I have told you at the start of this trial,

 16       Mr. Fall is presumed to be innocent of the accusations

 17       against him.       It is a fundamental principle of our

 18       system of justice that every person accused of a crime

 19       is presumed to be innocent unless and until his guilt

 20       is established beyond a reasonable doubt.                The

 21       presumption is not a mere formality.              It is a matter of

 22       the utmost importance.          The presumption of innocence

 23       alone may be sufficient to raise a reasonable doubt and

 24       to require the acquittal of a defendant.

 25                 The Defendant before you, Mr. Fall, has the
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   1      benefit of that presumption throughout the trial, and

   2      you are not to convict him of a particular charge

   3      unless you are persuaded of his guilt of that charge

   4      beyond a reasonable doubt.           Each charge carries its own

   5      presumption of innocence; and even if you find the

   6      evidence has overcome that presumption on one charge,

   7      you must still apply it to the other charges unless and

   8      until the evidence persuades you otherwise.

   9                The presumption of innocence unless and until

 10       proven guilty means the burden of proof is always on

 11       the Government to satisfy you that Mr. Fall is guilty

 12       beyond a reasonable doubt of the crime with which he is

 13       charged.     This burden never shifts to Mr. Fall.               It is

 14       always the Government's burden to prove each of the

 15       elements of the crimes charged beyond a reasonable

 16       doubt by the evidence and the reasonable inferences to

 17       be drawn from that evidence.

 18                 Mr. Fall has the right to rely upon the failure

 19       or the inability of the Government to establish beyond

 20       a reasonable doubt any essential element of a crime

 21       charged against him.         If after fair and impartial

 22       consideration of all the evidence you have a reasonable

 23       doubt as to Mr. Fall's guilt of a particular crime, it

 24       is your duty to acquit him of that crime.                On the other

 25       hand, if after a fair and impartial consideration of
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   1      all of the evidence you are satisfied beyond a

   2      reasonable doubt of Mr. Fall's guilt of a particular

   3      crime, you should vote to convict him.

   4                In light of the fact that the Court struck

   5      Mr. Fall's testimony, I remind you that a defendant has

   6      an absolute right not to testify.             Since the entire

   7      burden of proof in this case is on the Government to

   8      prove that Mr. Fall is guilty, no inference of guilt or

   9      anything else may be drawn from the absence of

 10       testimony from Mr. Fall.

 11                 It is not up to Mr. Fall to prove that he is

 12       innocent.      Under our system of law, any defendant has a

 13       perfect right to say to the Government:               You have the

 14       burden of proving your case against me beyond a

 15       reasonable doubt; I do not have to say a word.

 16                 You must determine whether the Government has

 17       proved its case against Mr. Fall based solely on the

 18       testimony of the witnesses who did testify and the

 19       exhibits that were introduced.

 20                 Now, the mere fact that this case is brought in

 21       the name of the United States of America does not

 22       entitle the prosecution to any greater consideration

 23       than that accorded to Mr. Fall.             By the same token, it

 24       does not mean that the prosecution is entitled to any

 25       less consideration.         All parties, whether the
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   1      Government or individuals, stand equal at the Bar of

   2      justice.

   3                Now, I will shortly explain the offenses with

   4      which Mr. Fall is charged and the elements the

   5      Government must prove in order to establish that

   6      Mr. Fall is guilty of any of the four offenses.

   7                In order for the Government to prove Mr. Fall's

   8      guilt of an offense, it must convince you beyond a

   9      reasonable doubt that it has proven each and every

 10       element of that offense.          Possibilities or even

 11       probabilities are not sufficient.             If the Government

 12       fails to prove any one of the elements of an offense

 13       beyond a reasonable doubt, then you must find Mr. Fall

 14       not guilty of that particular offense.

 15                 On the other hand, if you are convinced beyond a

 16       reasonable doubt that all elements of an offense with

 17       which Mr. Fall has been charged have been proven to you

 18       beyond a reasonable doubt, then you should find him

 19       guilty of that offense.

 20                 As I've said, the burden is upon the Government

 21       to prove beyond a reasonable doubt that Mr. Fall is

 22       guilty of the charges made against him.               It is a strict

 23       and heavy burden, but it does not mean that Mr. Fall's

 24       guilt must be proven beyond all possible doubt.                  It

 25       does require that the evidence exclude any reasonable
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   1      doubt concerning Mr. Fall's guilt.

   2                A reasonable doubt may arise not only from the

   3      evidence produced but also from a lack of evidence.

   4      Reasonable doubt exists when after weighing and

   5      considering all of the evidence using reason and common

   6      sense jurors cannot say that they have a settled

   7      conviction of the truth of the charge.

   8                Of course, Mr. Fall should not be convicted on

   9      suspicion or conjecture.          If for example, you view the

 10       evidence in this case as reasonably permitting either

 11       of two conclusions, one, that Mr. Fall is guilty as

 12       charged, the other that Mr. Fall is not guilty, then

 13       you must find Mr. Fall not guilty.             It is not

 14       sufficient for the Government to establish a

 15       probability, even a strong one, that a fact charged is

 16       more likely to be true than not true.              That is not

 17       enough to meet the burden of proof beyond a reasonable

 18       doubt.

 19                 On the other hand, there are very few things in

 20       this world that we know with absolute certainty.                  And

 21       in criminal cases, the law does not require proof that

 22       overcomes every conceivable doubt, but it requires

 23       proof that overcomes every reasonable doubt.

 24                 Concluding my instructions on the burden then, I

 25       instruct you that what the Government must do to meet
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   1      its heavy burden is to establish the truth of each part

   2      of each offense charged by proof that convinces you and

   3      leaves you with no reasonable doubt and thus satisfies

   4      you that you can, consistently with your oath as

   5      jurors, base your verdict upon it.             If you so find as

   6      to a particular charge against Mr. Fall, you will

   7      return a verdict of guilty of that charge.                If on the

   8      other hand you think there's a reasonable doubt about

   9      whether Mr. Fall is guilty of a particular offense,

 10       then you must give Mr. Fall the benefit of the doubt

 11       and find Mr. Fall not guilty of that offense.

 12                 The indictment in this case charges Mr. Fall

 13       with four separate counts.           Counts I, II, III and IV.

 14       There are no other charges before you.               You must

 15       consider each of the four counts separately.                 The fact

 16       that you find Mr. Fall guilty or not guilty on one

 17       count does not mean that you should find him guilty or

 18       not guilty on the other count.

 19                 Now, when I explain the charges in detail, you

 20       will hear that the Government alleges certain offenses

 21       were committed on or about or in or about certain

 22       dates.

 23                 The proof need not establish with certainty the

 24       exact date of an alleged offense.             It is sufficient if

 25       the evidence in the case establishes beyond a
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 1      reasonable doubt that the offense was committed on a

 2      date reasonably near the date alleged.

 3               I'm going to describe each charge for you and

 4      then tell you the elements of the offense and then

 5      define some terms for you.          The four charges against

 6      Mr. Fall were charged in an Indictment, which is simply

 7      the description of the charges against the Defendant.

 8      An Indictment is an appropriate method for the

 9      Government to use in order to assert charges against an

10      individual.

11               In Count I, Mr. Fall is accused of corruptly

12      endeavoring to obstruct and impede the Internal Revenue

13      Service concerning his and Carmen Sanchez's individual

14      taxes, as well as Comfort Dental's corporate income

15      taxes in violation of 26 U.S.C. Section 7212(a).

16               In Count II, Mr. Fall is accused of tax evasion.

17      Specifically, that he did willfully attempt to evade or

18      defeat the payment of a substantial part of the taxes

19      due for the tax years 1998 through 2000 in violation of

20      26 U.S.C. Section 7201.

21               Now, Counts III and IV, Mr. Fall is accused of

22      aiding and assisting in the filing of false tax returns

23      for Comfort Dental for the years 2006 and 2007,

24      specifically with respect to business expense

25      deductions for advertising expenses totaling $133,222
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 1      for 2006; and $95,544 for 2007 while knowing and

 2      believing that the expenses had not been incurred in

 3      violation of 26 U.S.C. Section 7206(2).

 4               You've heard in this trial and you will see in

 5      many of the exhibits the name of Carmen Sanchez and the

 6      name of other businesses, including Comfort Dental.

 7      And although you may wonder what, if anything, happened

 8      to these individuals or those entities, you should not

 9      concern yourself with that, nor should you speculate

10      about that.

11               Ladies and gentlemen, the legality of the tax

12      laws is not an issue in this case.             Congress

13      unquestionably has the authority to tax and to require

14      the filing of tax returns such as for income taxes.

15      Likewise, the Internal Revenue Service is authorized by

16      law as an agency of the United States to assess and

17      collect taxes.       All citizens of the United States are

18      subject to Federal tax laws.           Compliance with the tax

19      laws is not voluntary in the sense that it is optional.

20               Now, I'm going to turn to the discussion of the

21      law as applicable to each of the four counts.

22               Count I.     Count I charges the Defendant, John J.

23      Fall, with corruptly trying to obstruct or impede the

24      administration of the Internal Revenue laws from in or

25      about February 1999, to in or about November of 2010.
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 1               It is against Federal law to corruptly endeavor

 2      to obstruct or impede the administration of Internal

 3      Revenue laws.

 4               For you to find Mr. Fall guilty of this crime,

 5      the Government must prove each of the following beyond

 6      a reasonable doubt:        One, first, that in or about the

 7      dates charged, Mr. Fall did something in an effort to

 8      obstruct or impede the due administration of the

 9      Internal Revenue laws in the manner charged; and two,

10      second, that Mr. Fall did so corruptly.

11               To act corruptly means to act with the intent to

12      secure an unlawful advantage or benefit or financial

13      gain either for oneself or for another.              To obstruct or

14      impede means to hinder, interfere with, create

15      obstacles or make difficult.

16               The Government does not have to prove that the

17      effort succeeded.        The Government does not have to

18      prove that the United States suffered a tax loss.                 The

19      crime is complete upon the commission of one corrupt

20      act.    You must unanimously agree on a specific corrupt

21      act.    The act need not be criminal in nature.              An act,

22      even if lawful in and of itself, can serve as a corrupt

23      act if it is done with the requisite intent.

24               Count II.      Count II charges the Defendant, John

25      J. Fall, with attempting to evade and defeat the
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 1      payment of his Federal income taxes for 1998, 1999 and

 2      2000.    It is against Federal law to try to evade or

 3      defeat the payment of Federal income taxes.

 4               For you to find Mr. Fall guilty of attempting to

 5      evade taxes, the Government must prove the following

 6      beyond a reasonable doubt:          One, that Mr. Fall owed

 7      substantially more Federal income tax than zero for the

 8      years 1998 through 2000; second, that Mr. Fall

 9      willfully attempted to evade or defeat the assessment

10      of this tax; and third, that Mr. Fall committed an

11      affirmative act in furtherance of this willful attempt.

12               A person acts willfully if the law imposed a

13      duty on him, he knew of the duty, and he voluntarily

14      and intentionally violated that duty.

15               If Mr. Fall acted in good faith, he did not act

16      willfully.      A good faith belief is one that is

17      genuinely and honestly held.           The burden to prove

18      Mr. Fall's state of mind, as with all other elements of

19      the crime, rests with the Government.              This is a

20      subjective standard.         What did Mr. Fall actually

21      believe, not what a reasonable person should have

22      believed.     However, you may consider the reasonableness

23      of Mr. Fall's belief in deciding whether he actually

24      held the belief.       Innocent mistakes caused by the

25      complexity of the Internal Revenue Code or negligence,
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 1      even gross negligence, are not enough to meet the

 2      willfulness requirement, but philosophical disagreement

 3      with the law or belief that the tax laws are invalid or

 4      unconstitutional does not satisfy good faith and does

 5      not prevent a finding of willfulness.              It is the duty

 6      of every person to obey the law.

 7               A person may not be convicted of Federal tax

 8      evasion on the basis of willful omission alone.                 He

 9      must also have undertaken an affirmative act of

10      evasion.     The affirmative act requirement can be met by

11      the filing of a false or fraudulent tax return that

12      substantially understates taxable income or by making

13      false entries or invoices or documents.              The

14      affirmative act requirement can be met by the filing of

15      a frivolous tax return that substantially understates

16      taxable income, by the filing of a false form W-2, or

17      by other affirmative acts of concealment of taxable

18      income such as keeping a double set of books, making

19      false entries or alterations or false invoices or

20      documents, destroying books or records, concealing

21      assets or covering up sources of income, handling one's

22      affairs so as to avoid keeping customary records and/or

23      other conduct whose likely effect would be to mislead

24      the Internal Revenue Service or conceal income.

25               You must agree on a specific affirmative act.
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 1      If a motive to evade or defeat the tax assessment or

 2      payment plays any part in an affirmative act, you may

 3      consider it even if the affirmative act serves other

 4      purposes as well, such as privacy or concealment from

 5      parties other than the IRS.

 6               Willful intent or guilty knowledge may be

 7      inferred from the secretive or irregular manner in

 8      which a transaction is carried out.

 9               In deciding whether Mr. Fall knew of a duty, you

10      may infer that he had knowledge of it if you find that

11      he deliberately closed his eyes to something that

12      otherwise would have been obvious to him.

13               In order to infer knowledge, you must find that

14      two things have been established.             First, that Mr. Fall

15      was aware of a high probability that the duty existed;

16      second, that Mr. Fall consciously and deliberately

17      avoided learning of the duty, that is to say that

18      Mr. Fall willfully made himself blind to the existence

19      of the duty.      Mere recklessness, negligence or mistake

20      in failing to learn the duty is not sufficient.                 There

21      must be a deliberate effort to remain ignorant of the

22      duty.

23               You may not find that Mr. Fall acted willfully

24      if you find that he actually believed that he had no

25      duty and that his belief was not based on philosophical
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 1      disagreement with the tax laws or a belief that the tax

 2      laws are invalid or unconstitutional.

 3               Mr. Fall's attitude toward the Internal Revenue

 4      Service or the reporting and payment of taxes generally

 5      may also be considered by you in determining his intent

 6      with respect to each of the allegations contained in

 7      the Indictment.

 8               The Government does not have to prove the exact

 9      amount of Federal income tax due and owing.               The

10      Government is required to establish only that Mr. Fall

11      owed a substantial amount during the year or years in

12      question and at the time he committed an affirmative

13      act.    Whether or not the amount owed is substantial is

14      a question for you to decide based on the facts and

15      circumstances in this case.

16               Counts III and IV.        Counts III and IV charges

17      the Defendant, John J. Fall, with aiding and assisting

18      in the preparation and filing of false corporate tax

19      returns by Comfort Dental for the tax years 2006 and

20      2007.    Counts III and IV charge the same offense but

21      for different tax years.          Count III concerns tax year

22      2006.    Count IV concerns tax year 2007.            You must

23      consider each count separately.

24               In order to prove Mr. Fall guilty of Counts III

25      and IV as charged in the Indictment, the Government
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 1      must prove each of the following beyond a reasonable

 2      doubt:     One, that Mr. Fall advised or assisted in the

 3      preparation of a tax return, which was subsequently

 4      filed; and, two, that the tax return was false or

 5      fraudulent as to any material matter; and three, that

 6      Mr. Fall acted willfully.

 7               The first element that the Government must prove

 8      beyond a reasonable doubt is that Mr. Fall advised or

 9      assisted in the preparation of a tax return which was

10      subsequently filed with the Internal Revenue Service.

11      It is not required that the Government prove that

12      Mr. Fall actually prepared or signed the return in

13      order to prove that he aided in the preparation.                 Proof

14      that Mr. Fall knowingly provided false information or

15      directions with the expectation that the information he

16      provided would be used to file a tax return is

17      sufficient to satisfy this element.

18               The second element that the Government must

19      prove beyond a reasonable doubt is that the return was

20      false as to a material matter.            An income tax return

21      may be false not only by reason of understatement of

22      income, but also because of an overstatement of lawful

23      deductions or because deductible expenses were

24      mischaracterized on the return.

25               The false statement in the return must be
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 1      material.     This means that it must be essential to an

 2      accurate determination of Comfort Dental's tax

 3      liability.

 4                The third element is that Mr. Fall acted

 5      willfully.      I've already defined "willfully" for you.

 6      A person acts willfully if the law imposed a duty on

 7      him, he knew of the duty, and he voluntarily and

 8      intentionally violated that duty.             It does not matter

 9      and you should not consider whether anyone other than

10      Mr. Fall knew or did not know of any falsity on the

11      return.

12                The word "knowingly" as that term has been used

13      from time to time in these instructions means that the

14      act was done voluntarily and intentionally and not

15      because of a mistake or an accident.

16                Now that you know what it is that the Government

17      must prove and what the standard of proof is to be

18      applied, the next question is how do you determine

19      whether the Government has proven any or all of the

20      charges beyond a reasonable doubt.             Obviously, you must

21      make a determination solely from the evidence properly

22      before you and from all reasonable and legitimate

23      inferences to be drawn from that evidence.

24                The evidence that is properly before you is the

25      testimony of witnesses and the exhibits that I have
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 1      admitted into evidence.          From the evidence, you may

 2      draw whatever conclusions are reasonable under the

 3      circumstances.       The evidence that is properly before

 4      you does not include the following.             The evidence does

 5      not include the following:          Comments or statements by

 6      attorneys; documents, photographs or other items which

 7      may have been referred to but have not been admitted

 8      into evidence; anything you have heard or seen outside

 9      of this courtroom regarding the events in question or

10      the participants in this case; and fourth, anything I

11      have instructed you to disregard, including the

12      Defendant's testimony.

13               As to the testimony of witnesses, your principal

14      task is to determine the credibility of witnesses and

15      the weight you give to the testimony of each.                In

16      making that determination, there are a number of

17      factors that you may consider.            One, the opportunity or

18      lack of opportunity the witness had to acquire

19      knowledge of the facts about which the witness

20      testified.      In other words, was the witness in a

21      position to have accurately perceived the facts that

22      the witness related to you?

23               Two, the reliability or unreliability of the

24      witness's memory.        In other words, did the witness have

25      a clear recollection of what happened, or was the
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 1      witness's memory uncertain or unclear?

 2               Three, the witness's appearance on the stand.

 3      Did the witness appear to be a person who was telling

 4      the complete and unadulterated truth, or did it appear

 5      that the witness was slanting things one way or another

 6      either consciously or unconsciously?

 7               Four, the probability or improbability of the

 8      witness's testimony.         Did what the witness had to say

 9      sound reasonable or implausible, or did it appear to be

10      highly unlikely or impossible?

11               Fifth, whether the witness had anything to gain

12      or lose from the outcome of this case.              In other words,

13      was the witness totally impartial, or did the witness

14      have some stake in the outcome or some reason to favor

15      one side or the other?

16               Now, the fact that a witness may be employed by

17      a Government or law enforcement agency does not by

18      itself mean that you should give that witness's

19      testimony any greater or any lesser weight simply

20      because of that fact.         You should assess the

21      credibility of testimony of such a witness by applying

22      the same factors you would with respect to any other

23      witness.

24               In evaluating the testimonial evidence, remember

25      that you are not required to believe something to be a
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 1      fact simply because a witness has stated it to be a

 2      fact and no one has contradicted what the witness said.

 3      If in the light of all the evidence you believe that

 4      the witness is mistaken or has testified falsely or

 5      that he or she is proposing something that is

 6      inherently impossible or unworthy of belief, you may

 7      disregard that witness's testimony even in the absence

 8      of any contradictory evidence.            You must decide which

 9      witnesses to believe and which facts are true.                To do

10      this, you must look at all the evidence drawing upon

11      your common sense and personal experience.

12               Just because there may be more witnesses

13      testifying on one side of an issue than on the other

14      does not mean that the weight of the evidence lies in

15      favor of the greater number of witnesses.               Once again,

16      it is the credibility or the quality of the testimony

17      that determines where the weight of the evidence lies.

18               In addition to assessing the credibility of the

19      witnesses and the weight to be given to their

20      testimony, you should also evaluate the exhibits that

21      you will have with you in the jury room.               Examine them

22      and consider them carefully.           However, bear in mind

23      that merely because an exhibit has been admitted into

24      evidence does not mean that you are required to accept

25      it at face value.        Like the testimony of a witness, the
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 1      significance of an exhibit or the weight you attach to

 2      it will depend upon your evaluation of that exhibit in

 3      light of all the facts and circumstances of the case.

 4               Now, as I mentioned previously, you may consider

 5      only the evidence that is properly before you.

 6      However, that does not mean that in determining the

 7      facts you're limited to the statements of the witnesses

 8      or the contents of the exhibits.            In reaching your

 9      conclusions, you are permitted to draw from the facts

10      that you find have been proven such reasonable

11      inferences as seem justified in the light of your

12      experience.

13               Inferences are deductions or conclusions which

14      reason and common sense lead you to draw from the facts

15      which have been established by the evidence in this

16      case.    Such evidence is sometimes called circumstantial

17      evidence.

18               To put it another way, a fact may be proved

19      either by direct evidence or by circumstantial

20      evidence.     Direct evidence include such things as the

21      testimony of an eyewitness who personally observed the

22      fact in question, or a photograph or a document showing

23      the actual thing described.           Circumstantial evidence

24      consists of proof of a series of facts or circumstances

25      from which the existence or non-existence of another
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 1      fact can be reasonably inferred.

 2               For example, if you go to bed at night on a

 3      clear and dry night and you wake up and you find that

 4      the pavement outside is wet, you may infer that it

 5      rained during that night, even though you did not see

 6      the rain fall.

 7               The law makes no distinction between direct and

 8      circumstantial evidence concerning the weight to be

 9      given each.      It is for you to decide how much weight to

10      give any evidence.        However, the law does require that

11      any fact required to convict Mr. Fall be proven beyond

12      a reasonable doubt.

13               Now, as I have said to you, it's up to you to

14      determine the facts of this case.             You should not

15      determine anything that I have said or done during this

16      trial as expressing an opinion on my part as to what

17      the facts in this case are.           I have not intended to

18      express any such opinion and you should not be

19      concerned about what my opinion might be regarding the

20      facts.     That is solely a matter for you to decide.

21               During this trial, there have been occasions

22      where the attorneys have objected to a question that

23      was asked of a witness.          You should not penalize an

24      attorney or, more importantly, his client for

25      objecting.      It is the attorney's right and duty to
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 1      protect the client's interests by objecting to what the

 2      attorney believes is evidence that does not satisfy the

 3      requirement of the Rules of Evidence.

 4               If I sustained the objection, it's important

 5      that you not speculate about what the answer to the

 6      objected to question might have been.              By sustaining

 7      the objection, the Court has determined that the

 8      evidence should not be considered by you.

 9               Now, your verdict must be based solely on the

10      evidence developed at trial or the lack of evidence.

11      Neither bias in favor of any person or cause, prejudice

12      against any person or cause, nor sympathy of any kind

13      should be permitted to influence you in the course of

14      your deliberations.        You may not consider any personal

15      feelings you may have about the race, religion,

16      national origin, sex or age of Mr. Fall or any witness.

17      It would be equally improper for you to allow any

18      feelings you might have about the nature of the crimes

19      charged to interfere with your decision-making process.

20               All that Mr. Fall and the Government are

21      entitled to or for that matter expect is a verdict

22      based upon your fair, scrupulous, conscientious

23      examination of the evidence before you and your

24      application of the law as I have explained it to you.

25               The question of possible punishment of Mr. Fall
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 1      is of no concern to you and should not in any sense

 2      enter or influence your deliberations.              The duty of

 3      imposing sentence rests exclusively upon me.                Your

 4      function is to weigh the evidence in the case and to

 5      determine whether or not Mr. Fall is guilty beyond a

 6      reasonable doubt solely upon the basis of the evidence.

 7      Under your oath as jurors, you cannot allow a

 8      consideration of the punishment, which may be imposed

 9      upon Mr. Fall if he is convicted, to influence your

10      verdict in any way or in any sense enter into your

11      deliberations.

12               Now, in order to return a verdict in this case,

13      all 12 of you must agree as to what the verdict will

14      be.    You cannot return a verdict of either guilty or

15      not guilty with respect to any charge against Mr. Fall

16      unless your decision is unanimous.             Therefore there are

17      two things that you should keep in mind during the

18      course of your deliberations.           On the one hand, you

19      should listen carefully to what your fellow jurors have

20      to say and you should be open-minded enough to change

21      your opinion if you become convinced that your opinion

22      had been incorrect.        On the other hand, you must

23      recognize that each of you has an individual

24      responsibility to vote for the verdict that you believe

25      is the correct one based on the evidence that has been
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 1      presented and the law as I have explained it to you.

 2               Accordingly, you should have the courage to

 3      stick to your opinion even though some or all of the

 4      other jurors may disagree as long as you have listened

 5      to their views with an open mind.

 6               Now, I'm going to appoint Juror Number 1,

 7      Ms. H      , as the jury foreperson.          She will preside

 8      over the deliberations and she will speak on behalf of

 9      the jury here in court.          You will discuss this case

10      with your fellow jurors to reach agreement if you can

11      do so.     Your verdict must be unanimous, meaning all of

12      you must agree.       Each of you must decide this case for

13      yourself, but you should do so only after you have

14      considered all of the evidence, after you've discussed

15      it fully with the other jurors and listened to the

16      views of your fellow jurors.           Do not be afraid to

17      change your opinion during the course of deliberations

18      if the discussion persuades you that you should.                 Do

19      not come to a decision simply because other jurors

20      think it is right.

21               If it becomes necessary during your

22      deliberations to communicate with me, you may send a

23      written note through the Court security officer, Gary

24      Palumbo, and the note must be signed by the foreperson.

25      No member of the jury should every attempt to contact
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 1      me except by a signed writing, and I will communicate

 2      with any member of the jury on anything concerning the

 3      case only in writing or here in open court.

 4                Now, the Court has prepared a verdict form for

 5      you.    It is a rather simple form that I will go over

 6      with you.     After you've reached a unanimous agreement

 7      on a verdict, your foreperson will fill in the form

 8      that has been given to you, sign it and date it, and

 9      you're to advise the Court security officer at that

10      time that you are ready to return to the courtroom to

11      return your verdict.

12                So you'll have this with you.           It's rather

13      simple.     It's the question of not guilty or guilty as

14      to the four counts.        As to Count I, the charge of

15      attempting to interfere with the administration of the

16      Internal Revenue laws, we, the jury, unanimously find

17      the Defendant, John J. Fall, not guilty or guilty.

18      Once you've reached a unanimous verdict on that count,

19      the jury foreperson should check the appropriate box.

20                Move on to Count II.        As to Count II, the charge

21      of attempting income tax evasion, we, the jury,

22      unanimously find the Defendant, John J. Fall, once

23      you've reached a unanimous verdict as to that count,

24      the foreperson should check guilty or not guilty.

25                Then the same for Counts III and IV -- well,
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 1      I'll read them.       As to Count III, the charge aiding and

 2      assisting in the filing of false returns for Comfort

 3      Dental for the tax year 2006, we, the jury, unanimously

 4      find the Defendant, John Fall, check either not guilty

 5      or guilty.      Then as to Count IV, the same charge for

 6      tax year 2007, we, the jury, unanimously find the

 7      Defendant either not guilty or guilty.

 8               Once you've reached a unanimous verdict on all

 9      four counts, the foreperson signs below, dates the

10      form, informs Officer Palumbo that you've reached a

11      unanimous verdict, and the Court will call you into the

12      courtroom shortly to return your verdict.

13               I've instructed you as to what the law is that

14      governs your deliberations.           I'll send a copy of these

15      instructions back in with you for you to have, and I

16      just want to ask very briefly to see counsel at

17      sidebar.

18               (Side-bar conference.)

19               THE COURT:      Mr. Kane, any objections to the jury

20      instructions?       Mr. Bender?

21               MR. BENDER:      Just on the evasion of payment, I

22      think you said evasion of assessment.              It's not evasion

23      of assessment.

24               MR. FITZGERALD:        I didn't bring it with me.

25               MR. BENDER:      I wrote it down over there.
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 1               (Pause.)

 2               MR. BENDER:      Page 9.

 3               THE COURT:      That should be W-2, not W-4, right?

 4               MR. KANE:      I think it is correct.

 5               THE COURT:      Any other objections for the

 6      Government?

 7               MR. BENDER:      No.

 8               MR. FITZGERALD:        Your Honor, I'm objecting to on

 9      page 7 the tax laws are legal instruction.               Your Honor,

10      usually when these instructions are included is when

11      there is evidence presented by the defense that taxes

12      are unconstitutional or are not legal for one reason or

13      another.     The only hint of that in this case is buried

14      in the papers that the Government put into evidence.

15      And I think over my objection, initially anyways, not

16      by the defense, your Honor, so the only basis of this

17      is the Government's own opening the door for it.                 I

18      don't think you can put into evidence and then get a

19      jury instruction to support that when it's not part of

20      the defense.

21               THE COURT:      I've had discussions with counsel

22      about that.      The Court ruled that the evidence that's

23      in this case is admitted evidence included statements

24      by Mr. Fall in writing where he challenged the

25      constitutional legality of the tax laws in this
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 1      country.     Because that issue is before this jury, the

 2      Court found it is appropriate and required, actually,

 3      to instruct them on the law in that regard.               So your

 4      objection is overruled.

 5               Any other objections?

 6               MR. FITZGERALD:        No, your Honor.

 7               THE COURT:      I will then just go back, I'll take

 8      the hit and tell them I misspoke and I'm going to read

 9      the beginning part of Count II.

10               (End of sidebar conference.)

11               THE COURT:      Ladies and gentlemen, it appears all

12      counsel have pointed out to me, there's so many

13      checking, that I left one phrase out when I read one

14      section to you so just so that we're clear, in Count

15      II, attempting income tax evasion, the charge under

16      Count II, I read to you the three elements.               I'm going

17      to read the three elements to you again in their

18      entirety and I'll say the phrase that I left out the

19      first time.

20               In order for you to find Mr. Fall guilty of

21      attempting to evade taxes, the Government must prove

22      the following beyond a reasonable doubt:               First, that

23      Mr. Fall owed substantially more Federal income taxes

24      than zero from the years 1998 through 2000; second,

25      that Mr. Fall willfully attempted to evade or defeat
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 1      the assessment or payment of his taxes; and third, that

 2      Mr. Fall committed an affirmative act in furtherance of

 3      this willful attempt.         Apparently I left the words "or

 4      payments" out when I read it.           It's correct on the

 5      form.

 6               Anything further, counsel?

 7               MR. FITZGERALD:        No, your Honor.

 8               MR. KANE:      No, your Honor.

 9               THE COURT:      Thank you for that.

10               Ladies and gentlemen, it does not make any sense

11      to begin deliberations at this hour.             We're under all

12      sorts of guidelines to close down at the appropriate

13      time and whatnot.        So I'm going to have to have you

14      report back at 9:30 to begin your deliberations.                 It's

15      going to be a hard one, because now you have heard all

16      the evidence and now you have heard the arguments and

17      now you have been instructed on the law, so I would

18      imagine it's going to be hard not to want to discuss

19      this case.      Know that the best people to discuss this

20      case with are going to be the 12 of you, and you can't

21      do that until Monday morning.

22               So I need for you to continue to not discuss

23      this case with anyone.         I'm sure family and friends are

24      going to want to discuss it with you, and you really

25      have to, and I instruct you, that you must stay away
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 1      from discussing this with anyone.

 2               In addition, please don't do any independent

 3      research.     If you feel confused by anything right now

 4      or whatnot, you are not allowed to do any independent

 5      research.     It would mess the system up entirely if you

 6      were to do anything like that, and I instruct not to do

 7      that.    If there are questions that occur during

 8      deliberations that the Court can assist you with, write

 9      down the question, the foreperson will sign it, and I

10      will attempt to deal with it if I need to, but do not

11      this weekend do any independent research.

12               If there's anything about this case in the

13      media, please look the other way and avoid any

14      attention to it.       Please don't say anything -- don't

15      Instagram or Tweet or Facebook or, I don't know, there

16      are probably other things out there by now.

17               Enjoy the weekend.        And what will happen Monday

18      morning is you'll gather as normal.             I'm required to

19      bring you in here first.          I count you.      I don't know if

20      you notice that when you walk in.             I have to count all

21      of you, assure that you're here, make sure that you

22      followed my orders.        That will take two minutes, and

23      then we will send you on your way and we'll wait to

24      hear from you till then.

25               Mr. P          , I'm going to ask you to stay with
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 1      us on Monday.       We don't know what could happen over the

 2      weekend.     I'm going to tell you now that I'm going to

 3      ask you to, as the alternate, when the jury does begin

 4      deliberations I'm going to have another room set for

 5      you.    There have been times in the past, as unlikely, I

 6      hope, as it may be where a juror becomes disabled

 7      during deliberations.         If that's the case, we'll deal

 8      with it, but it will involve you and you're the only

 9      person that can serve that role.            So I ask you to come

10      back.    Gather as usual Monday morning.            After I excuse

11      the jury, we'll have another room set for you.                You

12      might want to bring a book or something.               I'll sort of

13      forewarn you.       And we'll go from there.

14               No questions about the case or the trial, but

15      any administrative questions about timing or what your

16      duties are?

17               Great.     You will have your notebooks in the jury

18      room with you.       Vicky will on Monday prepare all of the

19      exhibits.     The attorneys will spend some time now,

20      which is the other reason it doesn't make sense to

21      begin, going through it, making sure that only the

22      admitted exhibits are on the cart.             They'll all come

23      into you then, along with your notebooks, along with

24      the jury instructions, the jury verdict form.                And

25      generally, there might be some things if you want them,
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 1      flip charts and things if there's writing or pads or

 2      whatever you might need.

 3               Yes, Ms. B           ?

 4               THE JUROR:      Is there to be one copy of the jury

 5      instructions?

 6               THE COURT:      Well, you know, it's surprising you

 7      should ask that.       I've only ever sent one back and then

 8      the last jury we had asked for 12 copies; so if you'd

 9      like multiple copies, I'll send multiple copies back.

10      I see a few of nods, but, sure, I'll send multiple

11      copies back.      That way you won't have to ask.            If you

12      need them, great.        If not, you can just put them aside,

13      but I will send multiple copies of the jury

14      instructions back.        I'm not copying all of the

15      exhibits.     You get one of those.

16               THE CLERK:      And neither am I.

17               THE COURT:      Ladies and gentlemen, thank you so

18      much for your service.         Enjoy the weekend, and we'll

19      see you back Monday morning.

20               (The jury is not present for the following:)

21               (Sidebar conference off the record.)

22               (Sidebar conference.)

23               THE COURT:      Anne, can we go on the record now.

24               We're going to mark for identification the

25      copies of the slides, the non-exhibit slides that
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 1      Mr. Kane used during his closing.

 2               MR. KANE:      Exhibit 450 entitled, "The Many

 3      Entities and Shell Companies of John Fall."               Not in

 4      order, 454, "Who am I?         The Many Fake Names and Aliases

 5      of John Fall."       453, "Who Banks This Way?          The

 6      Transfers Between Accounts."           452, "Who Banks This

 7      Way?"    451, "Changing Companies Over Time to Evade

 8      Detection."      And 455, "IRS Notices and Warnings."

 9               THE COURT:      Thanks.     We're off the record.

10               (Discussion off the record.)

11               (Adjourned at 4:20 p.m.)

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                      C E R T I F I C A T I O N




                      I, Anne M. Clayton, RPR, certify that the

        foregoing is a true and correct copy of the transcript

        originally filed with the clerk on February 16, 2016,

        and incorporating redactions of personal identifiers in

        accordance with the Judicial Conference policy.

        Redacted characters appear as a black box in the

        transcript.




                                        /s/ Anne M. Clayton

                           ______________________________________

                                       Anne M. Clayton, RPR




                                         February 16, 2016

                           ________________________________________

                                                  Date
